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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEBRASKA

                                          )
 In re:                                   ) Chapter 11
                                          )
 SPECIALTY RETAIL SHOPS HOLDING CORP., et ) Case No. 19-80064-TLS
 al., 1
                                          )
                Debtors.                  ) (Jointly Administered)
                                          )

                 DEBTORS’ MOTION FOR ENTRY OF AN ORDER
        (I) AUTHORIZING THE DEBTORS TO ENTER INTO A SETTLEMENT
     AGREEMENT WITH SUN CAPITAL PARTNERS AND (II) GRANTING RELATED
                                RELIEF

          Specialty Retail Shops Holding Corp. (“Shopko” or the “Company”) and its debtor

 affiliates, as debtors and debtors in possession in the above-captioned chapter 11 cases

 (collectively, the “Debtors”), acting at the direction of the Special Committee of independent and

 disinterested directors (the “Special Committee”), hereby seek authority to enter into the settlement

 agreement attached hereto as Exhibit A (the “Settlement Agreement,” and the terms and

 conditioned contained therein, the “Settlement”) and respectfully state as follows in support of the

 motion (this “Motion”): 2

                                             Preliminary Statement

          1.       Prior to the filing of these cases, the Debtors delegated to the Special Committee

 authority to investigate all potential causes of action against insiders. After five months of



 1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
      Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
      R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
      Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
      LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
      (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.

 2
      In support of this Motion, the Debtors submit the Declaration of Adam W. Verost in Support of the Debtors’
      Motion for an Order (I) Authorizing the Debtors to Enter into a Settlement Agreement with Sun Capital Partners
      and (II) Granting Related Relief (the “Verost Declaration”), attached hereto as Exhibit B.
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 extensive investigation and due diligence, the Special Committee has determined in its business

 judgment to enter into the Settlement Agreement with Sun Capital Partners, Inc. and certain of its

 affiliates (“Sun Capital”), which is the Debtors’ primary equity sponsor.                        Pursuant to the

 Settlement Agreement, the Debtors seek to settle any and all potential claims and causes of action

 that the Debtors may have against the Debtors’ equity sponsors, as well as claims and causes of

 action that the Debtors may have against current and former directors and officers in exchange for

 an immediate cash payment of $15 million from Sun Capital. 3 The Settlement represents the

 culmination of extensive diligence, analysis, and negotiations with all of the Debtors’ key

 stakeholders.

         2.       For the past five months, the Special Committee, advised by and working with its

 advisors, has gone to massive lengths to investigate, negotiate, and ultimately settle the claims

 within their mandate. The Special Committee began its investigation in late 2018 by focusing on

 dividend and related payments in excess of $100 million made to the Debtors’ equity sponsors in

 2013 and 2015. In furtherance of its diligence, the Special Committee’s professionals manually

 reviewed tens of thousands of pages of documents, including e-mails produced by the Company

 and Sun Capital, extensively analyzed the financial condition of the Company at the time of the

 subject payments, and interviewed four representatives of the Company.                           Relying on the

 information received during its investigation, the Special Committee spent weeks engaged in

 negotiations with Sun Capital working to extract as much value as possible, wherever possible, for

 the estates at a time when the Debtors were in significant need of additional liquidity.



 3
     This amount will be deposited into a segregated account in accordance with the terms of the Debtors’ postpetition
     lending facility. See Final Order Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, and 507 and Fed. R. Bankr.
     P. 2002, 4001 and 9014 (I) Authorizing Debtors and Debtors in Possession to Obtain Postpetition Financing, (II)
     Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative
     Expense Status, (IV) Granting Adequate Protection to the Prepetition Lenders, (V) Modifying the Automatic Stay,
     and (VI) Granting Related Relief (the “DIP Order”), ¶1.6.

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         3.       In late March 2019, these negotiations intensified when Sun Capital approached the

 Special Committee and expressed an interest in acquiring the Debtors’ optical business (the

 “Optical Business”) and made clear that any such transaction would need to be done in conjunction

 with a settlement of the potential estate causes of actions that the Special Committee has been

 investigating since the outset of these chapter 11 cases. Based on its extensive due diligence, the

 possibility of statutes of limitations defenses for claims prior to 2015, and the strong likelihood

 that Shopko was solvent in both 2013 and 2015, the Special Committee concluded that it was

 appropriate to discuss the potential to maximize the value of these potential causes of action

 through a settlement, rather than through time-consuming litigation, and engaged in discussions

 regarding a potential transaction and settlement with Sun Capital.

         4.       As the Court is aware, the Special Committee did not reach agreement with Sun

 Capital on the terms of a combined Optical Business transaction and settlement. In the course of

 those negotiations, Sun Capital made it clear to the Special Committee that it would not engage on

 the terms of an optical sale transaction separate and apart from the release. The Special Committee

 and the Debtors ultimately approved the sale of the Optical Business to Shoptikal LLC, which is

 an affiliate of Monarch Alternative Capital, L.P. (“Monarch”), in a transaction that the Special

 Committee believes maximizes the value of the Optical Business while preserving the value of the

 insiders claims for the estates.

         5.       With the optical sale transaction on track to close, the Special Committee re-

 focused its effort to maximize the value of the potential estate causes of action and engaged the

 Debtors’ secured lenders, the Official Committee of Unsecured Creditors (the “UCC”), and Sun

 Capital in settlement discussions in advance of the Special Committee’s objection deadline to the

 UCC’s motion seeking standing (the “Standing Motion”) 4 to prosecute causes of action related to


 4
     Motion for Entry of an Order Authorizing the Committee to Prosecute Certain Claims on Behalf of the Bankruptcy
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 the 2015 dividend payments against the Debtors’ equity sponsors. Between April 25, 2019 and

 May 1, 2019, the Special Committee’s negotiations with Sun Capital intensified. On May 1, 2019,

 after multiple rounds of arms-length negotiations, the Special Committee and Sun Capital finally

 reached agreement in principle on the $15 million Settlement. In exchange for this significant

 payment, Sun Capital made it clear that the Settlement would be contingent upon the support of

 the Debtors’ secured lenders and Monarch. Sun Capital also expressed a desire to gain UCC

 support for the Settlement. Finally, Sun Capital required that the Settlement bring complete

 closure to the possibility of any litigation related to the equity sponsors’ investment in the Debtors,

 including general releases from the Debtors to Sun Capital, including current and former

 representative agents of the Debtors. Accordingly, the Settlement Agreement includes releases in

 favor of the Debtors’ current and former officers for any claims related to the dividend and related

 payment and the filing and prosecution of the chapter 11 cases.

        6.      Throughout this process, the Special Committee consulted with the Debtors’

 secured lenders and the UCC on a regular basis. In particular, the Special Committee’s advisors

 met with the advisors to the UCC a multitude of times telephonically, and in person on at least

 three different occasions, including (a) on March 11, 2019, to review the work product of the

 UCC’s solvency expert, (b) on April 2, 2019, to discuss the status of the investigation and potential

 settlement terms in light of the Debtors’ GOB sales process, and (c) on April 26, 2019, to discuss

 the conclusions reached by Ducera Partners LLC (“Ducera”) regarding the Debtors’ solvency in

 2015 and the benefits of settling any potential claims. As the Court is aware, in the midst of this

 process, the UCC filed the Standing Motion to pursue approximately $67.5 million in claims




    Estates [Docket No. 641].

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 against Sun Capital on account of the 2015 payments and hired its own expert to analyze the issues

 related thereto. 5

          7.      The road to this Settlement has been long and bumpy. At times throughout these

 cases, certain parties in interest have expressed skepticism as to the independence of the Special

 Committee and have alleged that the sole purpose of the existence of the Special Committee is to

 manufacture a release in favor of the Debtors’ equity sponsors. The Special Committee vigorously

 disputes these baseless accusations and submits that the record in these cases demonstrates the

 integrity and independence with which the Special Committee has approached its investigation

 and the Settlement negotiations.           The reality is that the $15 million Settlement creates

 extraordinary value for the estates, especially in light of the defenses that would be raised if the

 issues were litigated. Importantly, the defendants in any such litigation would argue that the

 Debtors were solvent at the time of the 2015 dividend payment. And as set forth in the Verost

 Declaration, an unbiased analysis of the Debtors’ financial condition at the time of the 2015

 dividend payment does indeed lead to the conclusion that the Debtors were most likely solvent at

 the time of the 2015 dividend transaction.

          8.      The UCC has concluded that the Company was insolvent in 2015, and to support

 that conclusion appears (a) to have determined that the Debtors were insolvent based upon one or

 more discounted cash flow analyses that are premised on the Debtors’ downside “sensitivity case”

 as further modified by Shaked without consultation with the Debtors’ management and (b) to have

 chosen not to use a comparable public company analysis on the basis that there are no sufficiently

 comparable companies. But the Special Committee has not identified any evidence to conclusively




 5
     The Special Committee and the UCC are in general agreement that any claims related to the 2013 payments are
     likely to be barred by statute of limitations defenses.

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 suggest that a better set of projections existed at the time of the 2015 dividend payment, and

 contemporaneous evidence supports the conclusion that the Debtors were solvent.

         9.      Against this backdrop, a settlement that generates $15 million in cash is a

 remarkable achievement, and if the issues were litigated to completion, the estates likely would

 receive much less, if any, value on account of the claims. In its deliberations, the Special

 Committee also considered the extensive amount of fees that the parties would incur litigating. If

 the case were litigated on a contingency fee basis, which the UCC’s counsel repeatedly has

 volunteered it would be willing to do, there is simply too much risk that these fees would

 cannibalize any recovery for the benefit of the estates and its creditors. 6

         10.     The Special Committee has taken its role in these cases and its duty to maximize

 value seriously. To that end, the Special Committee vigorously sought, pursued, and attained a

 third party purchaser for the Optical Business. The Special Committee negotiated hard with Sun

 Capital to settle the claims, which have no guarantee of success if pursued, for $15 million in cash.

 The $15 million the estates will receive immediately as a result of the Settlement is by far the

 better choice than the unknown amount creditors might receive at a later date, discounted by some

 undisclosed contingency fee. To put it simply, the Special Committee respectfully submits the

 estates will be better off by accepting the bird in hand recovery rather than leaving it to an unknown

 estate representative to litigate tenuous claims over a timeframe that could last years.

         11.     For these reasons, and the reasons set forth below, the Special Committee

 respectfully submits that the Settlement is fair, equitable, and in the best interest of these estates

 and respectfully requests the Court to approve the Settlement.




 6
     The Special Committee has requested the UCC’s counsel to provide its proposed contingency fee, but the UCC’s
     counsel has not done so to date.

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                                          Relief Requested

        12.     By this Motion, the Debtors respectfully seek entry of an order (the “Order”): (a)

 approving the Settlement Agreement and authorizing the parties to take any and all actions

 necessary to effectuate the Settlement Agreement without the need of further order by this Court;

 and (b) granting related relief.

                                      Jurisdiction and Venue

        13.     The United States Bankruptcy Court for the District of Nebraska (the “Court”) has

 jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and Nebraska General Rule 1.5

 of the United States District Court for the District of Nebraska. The Debtors confirm their consent,

 pursuant to Rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to

 the entry of a final order by the Court in connection with this Motion to the extent that it is later

 determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

 connection herewith consistent with Article III of the United States Constitution.

        14.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        15.     The bases for the relief requested herein are sections 105(a), 363(b), and 365 of the

 Bankruptcy Code, Bankruptcy Rule 9019, and Rule 9019-1 of the Nebraska Rules of Bankruptcy

 Procedure (the “Local Rules”).

                                            Background

 I.     The Special Committee’s Investigation and Negotiations.

        16.     On October 18, 2005, Shopko entered into a merger agreement (the “SKO Group

 Merger Agreement”) with SKO Group Holding Corp. (“SKO Group”), an affiliate of Sun Capital.

 The SKO Group Merger Agreement provided for SKO Group’s acquisition of Shopko for $29.07

 per share, with approximately 30.3 million shares of common stock outstanding, plus an increase

 in the per share price of 6 percent per annum each day beginning on December 15, 2005. Shopko’s

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 shareholders overwhelmingly approved the SKO Group Merger Agreement on December 23,

 2005, and the merger was completed on December 28, 2005.

        17.     In December 2017, to ensure a thorough and fair process with respect to the

 Debtors’ review of their strategic alternatives, the board of directors of Shopko (the “Board of

 Directors”) appointed Steve Winograd and Mohsin Y. Meghji to the Board of Directors as

 disinterested directors (the “Disinterested Directors”). Each of the Disinterested Directors has

 extensive experience serving on boards of managers and boards of directors in distressed

 situations. On November 26, 2018, the Board of Directors authorized the formation of the Special

 Committee comprising the Disinterested Directors to, among other things, review matters

 regarding transactions or negotiations that the Special Committee determines in whole or in part

 may result in conflicts of interest. The Special Committee subsequently retained Willkie Farr &

 Gallagher LLP (“Willkie Farr”) as independent counsel and Ducera as independent financial

 advisor (collectively, the “Advisors”), to assist the Disinterested Directors in their review. As part

 of this mandate, the Special Committee commenced an investigation (the “Investigation”) into,

 among other things, certain dividend payments made to the Debtors’ direct or indirect equity

 owners. In the course of its Investigation, the Special Committee has considered, among other

 things, whether the Debtors’ estates should pursue causes of action on account of actual fraudulent

 transfer, constructive fraudulent transfer, breach of fiduciary duty, aiding and abetting breach of

 fiduciary duty, breach of contract, unjust enrichment, tortious interference with contract, and

 illegal dividends under state law (the “Potential Claims”). As part of the Investigation, Ducera

 presented a report to the Special Committee, which is annexed to the Verost Declaration.

        18.     The Investigation has included multiple diligence requests to the Debtors, Sun

 Capital, and Duff & Phelps. The Advisors also conducted interviews of current and former Shopko



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 personnel who the Special Committee determined may have relevant knowledge related to the

 Potential Claims.

         19.     The Advisors received several rounds of diligence materials from Shopko in

 response to their requests, including thousands of documents, and e-mail correspondence from the

 Debtors’ senior management. The Advisors conducted four interviews with senior management,

 namely Russell Steinhorst (Shopko’s current CEO and former CFO), Mary Meixelsperger

 (Shopko’s former CFO), Gary Gibson (Shopko’s current VP and Treasurer), and Kelly Weerts

 (Shopko’s current VP and Controller).            The interviews of Russell Steinhorst and Mary

 Meixelsperger were considered especially important to the Investigation as these witnesses signed

 management representation letters in connection with the solvency opinions that were done for the

 2013 and 2015 dividends, respectively. Willkie Farr conducted a review of this correspondence

 and other documents. Ducera also conducted a solvency analysis of Shopko to determine whether

 it was solvent, primarily focusing on issues relating to the 2015 dividend transaction.

         20.     Additionally, the Advisors sent discovery requests to counsel to Sun Capital

 beginning January 11, 2019. After finalizing a non-disclosure agreement with Sun Capital, the

 Advisors received several rounds of voluntary productions of documents in response to the

 Advisors’ requests. Materials produced by Sun Capital included over 6,000 documents (including

 over 42,000 Bates numbered pages), including e-mail correspondence from a number of custodians

 who were substantively involved with Sun Capital’s position in Shopko, as well as Sun Capital’s

 own internal valuation analysis and outside valuations that were requested by Sun Capital.

         21.     The Special Committee focused its Investigation on several dividend payments

 Shopko made to its direct or indirect equity owners since its acquisition by a group of equity

 holders in 2005. A summary of the circumstances of these payments since 2013 is below: 7


 7
     The Debtors also made dividend payments on May 14, 2007, September 24, 2010, and December 3, 2010 (for
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                 •        August 29, 2013, Shopko paid a dividend in the amount of $44,531,900 to
                          SKO Group, which used the proceeds to make a distribution to its various
                          owners, including Sun Capital. The dividend was financed through
                          borrowing from Shopko’s revolving credit facility, which was governed by
                          the Third Amended and Restated Loan and Security Agreement, dated
                          February 7, 2012 (the “Third RCF”). Shopko engaged Duff & Phelps to
                          perform a “solvency analysis” on Shopko and to determine whether it was
                          solvent at the time of the dividend payments. Duff & Phelps provided a
                          solvency opinion dated August 29, 2013.

                 •        June 19, 2015: each of Shopko Stores Operating Co., LLC (“Shopko
                          Operating”), Shopko Holding, Shopko Holding Company, LLC, formerly
                          Shopko Holding Company, Inc., (“Shopko Holding”), and Shopko paid a
                          dividend in the amount of $50 million to its respective parent. SKO Group
                          used the proceeds received from Shopko to make a distribution in the same
                          amount to its various owners, including Sun Capital. The dividend was
                          financed through borrowing from Shopko’s Third RCF. SKO Group,
                          Shopko, Shopko Holding, and Shopko Operating engaged Duff & Phelps to
                          perform an analysis of the solvency of those four entities. Duff & Phelps
                          provided a solvency opinion dated June 19, 2015.

        22.      Upon its retention by the Special Committee, Ducera began analyzing the Debtors’

 financial condition at the time of the 2015 dividend transaction. As it conducted its analysis,

 Ducera had telephonic meetings with the Special Committee and Willkie Farr and kept them

 apprised as to Ducera’s preliminary solvency views. On March 22, 2019, during a meeting of the

 Special Committee, Ducera delivered an oral report and conclusions concerning its investigation

 of the Debtors’ solvency focusing on the 2015 dividend payments that was subsequently finalized

 and reduced to writing. The Special Committee was therefore guided by Ducera’s report and

 advised by both Ducera and Willkie Farr at the time it began its negotiations with Sun Capital to

 extract value for the benefit of the estates. In the meantime, the Special Committee resolved to

 leave the investigation open while it pursued and responded to proposals involving Sun Capital.




    $55 million, $20 million, and $10 million, respectively), which the Special Committee determined did not present
    viable Potential Claims.

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        23.     The Special Committee also focused its Investigation on the consulting services

 arrangements between the Debtors and its equity sponsors. Prior to February 7, 2012, Shopko was

 party to a long-term management services agreement, under which Sun Capital Partners

 Management IV, LLC (“SCM”) provided Shopko with financial and management consulting

 services. SCM also provided consulting services to Pamida Holding Company, Inc. (“Pamida”)

 and its affiliates, under a similar agreement. On February 7, 2012, in conjunction with the merger

 between Shopko and Pamida, Shopko entered into a new consulting agreement with SCM (the

 “Consulting Agreement”). The Consulting Agreement has a 10-year term pursuant to which SCM

 is to render consulting services regarding the business of Shopko and its subsidiaries, including,

 but not limited to, advice regarding improvements to financial reporting, accounting, and

 management information systems services.

        24.     In exchange for its consulting services, SCM was entitled to an annual fee of

 $4 million (the “Consulting Fee”) and reimbursement for all reasonable out-of-pocket fees and

 expenses incurred in the performance of the consulting services. The Debtors are guarantors of all

 payments owed pursuant to the Consulting Agreement. The Consulting Fee was paid in quarterly

 installments in advance, each installment equal to $1 million. The Special Committee understands

 that, in 2017, the Debtors and Sun Capital agreed to reduce the Consulting Fee to approximately

 $301,000 per quarter, and that no Consulting Fees have been paid since December 2017.

        25.     SCM also was entitled to an additional fee in connection with certain transactions

 or events (“Consulting Events”), equal to approximately 1 percent of the value of the transaction.

 At this time, the Special Committee understands that since 2012, approximately six Consulting

 Events have occurred that have generated such a fee, including a $445,319.00 fee related to the

 2013 dividend and a $500,000.00 fee related to the 2015 dividend.



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        26.     As described above, Sun Capital approached the Debtors to express their interest in

 acquiring the assets related to the Debtors’ Optical Business. Given Sun Capital’s status as an

 insider, the Special Committee assumed responsibility for negotiating the terms of a potential

 transaction related to the Optical Business with Sun Capital. At the outset, Sun Capital conditioned

 any purchase of the Optical Business on a settlement of the Potential Claims investigated by the

 Special Committee. While the Special Committee engaged in vigorous negotiations with Sun

 Capital’s advisors on a transaction, Sun Capital subsequently informed the Special Committee that

 they were withdrawing from the sale process because it could not consummate a transaction

 without the support of affiliates of Monarch, the Debtors’ largest landlord for the Optical Business,

 who itself had entered the process as a competing bidder and preferred its own transaction.

 Ultimately, after weeks of negotiation, the Special Committee successfully negotiated a transaction

 for the Optical Business with Monarch that was subsequently approved by the Court.

        27.     In considering its negotiating strategy, the Special Committee engaged with Sun

 Capital and the UCC, as well as other stakeholders, to determine the best path forward for the

 estates, including whether to settle the Potential Claims now in exchange for significant value that

 would alleviate the Debtors’ acute need for near-term cash to fund and provide distributions in the

 chapter 11 cases, or to formally pursue litigation to obtain recoveries on the Potential Claims.

        28.     Recognizing that the Potential Claims are subject to formidable defenses that would

 have been raised by Sun Capital, and to have a complete understanding of its best settlement

 outcome, the Special Committee focused on extracting as much value as possible on account of

 the claims in advance of the objection deadline to the UCC’s Standing Motion. The Special

 Committee also requested the UCC to actively participate in settlement negotiations in the hopes

 of maximizing value and reaching a consensus with all parties. After months of investigation and

 hard-fought negotiations during which the parties came to and left the table on numerous

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 occasions, on May 6, 2019, the Debtors and Sun Capital reached mutually agreeable settlement

 terms for all of the Potential Claims, embodied in the Settlement Agreement.

 II.    The Special Committee’s Findings.

        29.     As part of its mandate to investigate potential claims or causes of action on behalf

 of the estates, the Special Committee and its Advisors conducted numerous interviews and

 reviewed tens of thousands of documents produced by both the Debtors and Sun Capital. The

 Special Committee considered not only the Potential Claims and causes of action, including actual

 and fraudulent transfers, breaches of fiduciary duty, and illegal payment of dividends under state

 law, but also potential defenses Sun Capital might have to the claims and the risk, time, and

 expense of litigation. The Special Committee understands that solvency would be a focus of any

 litigation against Sun Capital relating to the above categories of claims, and would likely involve

 complicated factual issues and expert testimony and analysis. As such, the Special Committee

 relied on the report of Ducera, its independent financial advisor, and the results of its Investigation

 when evaluating the Debtors’ solvency at the time of the 2015 dividend transactions.

        A.      Contemporaneous Evidence of the Debtors’ Solvency.

        30.     The Special Committee and its Advisors found that multiple sophisticated parties

 came to conclusions prior to, and soon after, the close of the 2015 dividend transactions that were

 consistent with a belief that the Debtors were solvent. For example, Duff & Phelps prepared a

 solvency opinion in connection with the 2013 and 2015 dividend transactions, concluding that the

 Debtors were solvent. Additionally, the Debtors received presentations from various investment

 banks in connection with a potential IPO. As part of their diligence, at least 3 investment banks

 relied on the Debtors’ forecasts at or around the time of the 2015 dividend transactions. At the

 time, these banks viewed a potential sale transaction or IPO as feasible as early as 2016, and

 prepared analyses showing significant equity value in the Debtors (i.e. solvency). Furthermore,

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 the fact that the Debtors’ lenders at the time agreed to fund the dividends through additional

 borrowings suggests that the Debtors’ lenders also believed that the Debtors were solvent.

        B.      The Debtors Were Most Likely Solvent at the Time of the 2015 Dividend
                Transactions.

        31.     As part of the Special Committee’s Investigation, Ducera independently

 investigated the solvency of the Debtors at various points critical to determining the viability of

 pursuing Potential Claims. Ducera undertook a thorough, multi-step analysis before reaching its

 conclusions, which are based on the information Ducera reviewed and developed, and Ducera’s

 expertise in securities and business valuations and general financial market financial conditions.

 In the course of its investigation, Ducera performed the following tasks:

                a.     reviewed and analyzed audited financial statements of the Debtors;

                b.     reviewed and analyzed the Debtors’ monthly management reports;

                c.     reviewed and analyzed valuation grids prepared by Sun Capital;

                d.     reviewed and analyzed solvency opinions prepared by Duff &
                       Phelps in June 2015 and August 2013;

                e.     reviewed and analyzed financing documents and amendments from
                       the time of the 2015 and 2013 dividend transactions;

                f.     reviewed e-mail correspondence by the Debtors and Sun Capital
                       employees;

                g.     participated in meetings with advisors of the UCC and Sun Capital;

                h.     participated with counsel in interviews with the Debtors’
                       employees, including Russell Steinhorst, Mary Meixelsperger, Gary
                       Gibson, and Kelly Weerts; and

                i.     reviewed and analyzed historical actual performance relative to
                       forecasts for periods prior to the dividend transactions.

        32.     Based on its analysis, Ducera concluded that the financial forecast (the “Shopko

 Forecast”) utilized by Duff & Phelps at the time of the 2015 dividend transactions was the most

 appropriate forecast available at the time to use for an assessment of value and solvency. In

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 reaching this conclusion, Ducera took into account that the Debtors’ management provided letters

 to Duff & Phelps that validated the reliability of Duff & Phelps’ assumptions, and that such

 assumptions represented managements’ best estimates for future operating performance and

 financial performance of the Debtors. Additionally, during interviews conducted in the course of

 the Investigation in March 2019, the Debtors’ employees represented that the assumptions were

 accurate, and, while acknowledging certain risks, were the best available assumptions at that time

 of the 2015 dividend transactions.      Specifically, Ducera discussed the historical financial

 performance of the Company with Shopko’s current CEO and other members of management and

 no one suggested a more reliable forecast or that the Shopko Forecast was unreliable.

         33.     Furthermore, in the course of its investigation, Ducera identified no

 contemporaneous forecasts developed by management or Sun Capital that materially differed from

 the Shopko Forecast. Ducera is not aware of any efforts by Sun Capital or other parties to pressure

 Shopko management to put forth projections that the Debtors’ management found to be

 unreasonable. Ducera identified no evidence suggesting Sun Capital believed at the time of the

 2015 dividend transaction that the Shopko Forecast was unreasonable or unlikely to be achieved.

         34.     Using the Shopko Forecast, Ducera performed valuation and comparative analyses

 using generally accepted valuation and analytical techniques, including discounted cash flow

 analysis and comparable public companies analysis. Based on its review of the Debtors’ financial

 data, Ducera found that the Debtors were most likely solvent at the time of the 2015 dividend

 transaction.   (Verost Decl., Annex A.)      Ducera determined that the financial projections

 incorporated in the Duff & Phelps 2015 solvency opinion reflected the most appropriate basis for

 Ducera’s evaluation of the Debtors. Ducera also reviewed other contemporaneous financial

 forecasts utilized by third parties.



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        35.     Ducera understands that the Debtors funded the 2015 dividend payment through

 incremental debt incurrence of approximately $54 million. Upon incurrence of the incremental

 debt and payment of the 2015 dividend payment, the Debtors had approximately $560 million of

 debt outstanding, reflecting leverage of 5.5x LTM EBITDA, and the Debtors’ enterprise value was

 reasonably estimated in the range of $650 million to $750 million. Ducera also found that at the

 time of the 2015 dividend payment, the Debtors’ equity value was reasonably estimated in the

 range of $123 million to $223 million.

        36.     Ducera reviewed and analyzed, as of the date of the 2015 dividend transactions, the

 Debtors’ ability to pay its debts as they came due. Ducera concluded that Shopko was reasonably

 expected to be able to pay its debts as they came due, considering both the Shopko Forecast and

 the downside “sensitivity case” to the Shopko Forecast. Based on the above valuation and analysis

 of Shopko’s ability to pay its debts as they came due, Ducera concluded that Shopko was likely

 solvent at the time of the 2015 dividend payment. However, Ducera also acknowledged that a trier

 of fact in a litigation may conclude that forecasts with less growth and lower profitability are more

 appropriate. A trier of fact in a litigation could also conclude that the 2015 Duff & Phelps solvency

 opinion is not reliable for a determination of value or assessment of solvency.

        37.     The Special Committee also considered the views of other professionals on

 solvency issues, including professionals retained by the UCC and Sun Capital. The UCC filed the

 report of the UCC’s expert, the Michel-Shaked Group (“Shaked”), with the Court on March 12,

 2019, only one month after the Michel-Shaked Group was retained, and one day prior to the UCC’s

 first requests for production. [Docket No. 641-2]. Shaked appears to have concluded that the

 Debtors were insolvent based upon one or more discounted cash flow analyses that are premised

 on the Debtors’ downside “sensitivity case” as further modified by Shaked without consultation

 with the Debtors’ management. Furthermore, Shaked appears to choose not to use a comparable

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 public company analysis on the basis that there are no sufficiently comparable companies. The

 UCC concluded that the Debtors’ were insolvent beginning in 2013, even though the UCC was in

 possession of relatively little information. Similarly, as negotiations progressed, Sun Capital

 retained Protiviti, Inc. as its financial advisor, who informed the Special Committee that it

 disagreed with Shaked’s analysis, including (a) certain assumptions and calculations used in the

 Shaked cash flow analysis and (b) the fact that Shaked ignored all comparable companies data that

 was inconsistent with its conclusions of value. The Special Committee’s advisors questioned both

 of those professionals as part of the Special Committee’s analysis, and used these views (to the

 limited extent they were helpful) in putting together the good faith and fact-driven solvency

 analysis relied upon by the Special Committee.

 III.   The Settlement Agreement.

        38.     The Debtors entered into the Settlement Agreement to avoid the burden, expense,

 and uncertainty of litigating the disputes regarding the Potential Claims. In substance, the

 Settlement Agreement provides that the Debtors will receive $15 million, in exchange for mutual

 releases between the Debtors, Sun Capital, and related parties for all claims and causes of action

 relating to all dividends and consulting fees paid to Sun Capital and the filing and prosecution of

 the chapter 11 cases. Specifically, the release provisions of the Settlement Agreement provide:

        a.      Release by the Debtors. For good and valuable consideration, the sufficiency
                of which is hereby acknowledged, the Debtors, on behalf of themselves and
                their respective estates, including, without limitation, any successor, trustee,
                or estate representative, and its and their insurers, predecessors, successors,
                assigns, and current and former officers, directors, equity holders,
                shareholders, stockholders, partners, members, managers, employees,
                attorneys and agents (the “Debtor Releasors”), as of the Effective Date (as
                defined in the Settlement Agreement), release, remise and forever discharge
                (a) the Sun Parties and each of their respective current and former affiliates,
                parents, equity holders, shareholders, stockholders, subsidiaries and co-
                investors (collectively the “Primary Sun Releasees”), and each of the Primary
                Sun Releasees respective current and former successors, assigns, equity
                holders, shareholders, stockholders, officers, directors, members, managers,
                principals, employees, agents, advisory board members, financial advisors,
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                partners, attorneys, accountants, investment bankers, consultants,
                representatives, insurers and other professionals, each in their capacity as such
                (together with the Primary Sun Releasees the “Sun Capital Releasees”); and
                (b) the Debtors’ current and former officers, directors, members, managers,
                principals, employees, agents, advisory board members, financial advisors,
                partners, attorneys, accountants, investment bankers, consultants,
                representatives, and other professionals, each in their capacity as such
                (together with the Sun Capital Releasees the “Debtor Releasees”) of and from
                any and all debts, demands, actions, causes of action, suits, damages, claims
                and liabilities whatsoever of every name and nature, whether known or
                unknown, that the Debtor Releasors now have, ever had, or in the future may
                have against the Debtor Releasees; provided, however, that nothing herein
                shall be construed to release any of the Debtor Releasees from any liability,
                duty or obligation expressly arising under the Settlement Agreement. The
                Debtor Releasors hereby consciously accept the risk that the scope of this
                release may include future damages, injuries, claims, obligations and
                liabilities that are presently unknown, unforeseen or not yet in existence and
                consciously intend to release same.

        b.      Release of the Debtors by Sun Capital. For good and valuable consideration,
                the sufficiency of which is hereby acknowledged, the Sun Parties and, to the
                extent they may legally do so, the Sun Parties on behalf of each of their
                respective current and former affiliates, parents, equity holders, shareholders,
                stockholders, subsidiaries and co-investors (collectively the “Primary Sun
                Releasors”), and each of the Primary Sun Releasors’ respective current and
                former equity holders, shareholders, stockholders, partners, members,
                managers, officers, directors, employees, attorneys, agents, representatives,
                insurers, successors and assigns (together with the Primary Sun Releasors the
                “Sun Capital Releasors”), as of the Effective Date, release, remise and forever
                discharge the Debtors, their estates, current and former affiliates, parents,
                subsidiaries, equity holders, shareholders, stockholders, partners, members,
                managers, officers, directors, employees, attorneys, financial advisors, agents,
                representatives, insurers, successors and assigns, of and from any and all
                debts, demands, actions, causes of action, suits, damages, claims and liabilities
                whatsoever of every name and nature, whether known or unknown, that the
                Sun Capital Releasors now have, ever had or in the future may have against
                the Debtor Releasors; provided, however, that nothing in the Settlement shall
                be construed to release any of the Debtor Releasors from any liability, duty
                or obligation expressly arising under the Settlement Agreement. The Sun
                Capital Releasors hereby consciously accept the risk that the scope of this
                release may include future damages, injuries, claims, obligations and
                liabilities which are presently unknown, unforeseen or not yet in existence
                and consciously intend to release same.

        39.     Additionally, the Settlement Agreement provides a representation by Sun Capital

 that they have attempted in good faith to provide all documents that the Special Committee and its

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 Advisors have requested from them. The Debtors are not aware of any other potential claims,

 other than as discussed herein, that are being released pursuant to the Settlement Agreement.

                                            Basis for Relief

 I.     Entry Into Release Provisions of the Settlement Agreement Is in the Best Interests of
        the Debtors’ Estates.

        40.     Bankruptcy Rule 9019 provides, in relevant part:

                On motion by the [debtor in possession] and after notice and a
                hearing, the court may approve a compromise or settlement. Notice
                shall be given to creditors, the United States trustee, . . . and
                indenture trustee as provided in Rule 2002 and to any other entity as
                the court may direct.

 Fed. R. Bankr. P. 9019(a).

        41.     In describing the standard for evaluating a settlement under Bankruptcy Rule 9019,

 the United States Court of Appeals for the Eighth Circuit has stated that a settlement need not be

 “the best result obtainable,” but rather, the evaluating court should approve the settlement where

 “the settlement is fair and equitable and in the best interests of the estate.” Tri-State Fin., LLC v.

 Lovald, 525 F.3d 649, 654 (8th Cir. 2008). The evaluating court only needs to determine that

 settlement does not fall below the lowest point in the range of reasonableness. Id.; see also In re

 Martin, 212 B.R. 316, 319 (Bankr. App. 8th Cir. 1997) (“The court does not substitute its judgment

 for that of the trustee, but reviews the issues to see if the settlement falls below the lowest point of

 reasonableness.”).

        42.     In determining the range of reasonableness, the Court does not need to decide the

 numerous issues of law and fact raised by the settlement. See Cosoff v. Rodman (In re W.T. Grant

 Co.), 699 F.2d 599, 608 (2d Cir. 1983) (citing Newman v. Stein, 464 F.2d 689, 693 (2d Cir. 1972)).

 In other words, the court does not need to conduct a “mini-trial” of the underlying facts and merits;

 it needs only to evaluate those facts that are necessary to allow it to assess the settlement and to

 make an independent judgment about the settlement. In re Hancock-Nelson Mercantile Co., Inc.,
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 95 B.R. 982, 995–96 (Bankr. D. Minn. 1989) (“However, TMT Trailer Ferry does not impose

 upon this Court the obligation to compel the full trial record, or the burden of reviewing that

 record—or even the duty to conduct a ‘mini-trial.’”); see also In re Martin, 212 B.R. 316, 319

 (Bankr. App. 8th Cir. 1997) (“[I]t is not necessary for a bankruptcy court to conclusively determine

 claims subject to a compromise, nor must the court have all of the information necessary to resolve

 the factual dispute, for by so doing, there would be no need of settlement.”); 10 Collier on

 Bankruptcy ¶ 9019.02 (16th 2018) (“The TMT rule does not require the bankruptcy judge to hold

 a full evidentiary hearing or even a “mini-trial” before a compromise can be approved. Otherwise,

 there would be no point in compromising; the parties might as well go ahead and try the case.”).

 Ultimately, “the decision to approve a settlement under [Bankruptcy] Rule 9019 is within the

 discretion of the bankruptcy judge.” In re Racing Servs., Inc., 332 B.R. 581, 586 (B.A.P. 8th Cir.

 2005).

          43.   To arrive at the range of reasonableness, the evaluating court should consider the

 factors laid out in Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v.

 Anderson, 390 U.S. 414, 424 (1968). As discussed by the Eighth Circuit in Tri-State Fin., LLC v.

 Lovald, there are four factors described in TMT by which courts determine the reasonableness of

 a settlement: “[(i)] the probability of success in the litigation; [(ii)] the difficulties, if any to be

 encountered in the matter of collection; [(iii)] the complexity of the litigation involved, and the

 expense, inconvenience and delay necessarily attending it; and the paramount interest of the

 creditors and a proper deference to their reasonable views in the premises.” 525 F.3d 649, 654 (8th

 Cir. 2008) (internal quotation marks and citations omitted); see also In re Brodkey Bros., Inc., No.

 13-80203 (TLS), 2013 WL 5636484, at *7 (Bankr. D. Neb. Oct. 15, 2013) (considering same

 factors).



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         A.      The Balance of Possible Litigation Success and the Settlement’s Future
                 Benefits Weighs In Favor of the Release Provisions of the Settlement
                 Agreement.

         44.     The first TMT factor—the balance between the litigation’s possibility of success

 and the settlement’s future benefits—plainly favors approval of the Settlement Agreement. When

 evaluating this factor, courts will consider the merit of the claims, the defenses to such claims, and

 any counterclaims. See, e.g., In re WBE Co., Inc., 2010 WL 2867426, at *5 (Bankr. D. Neb. July

 20, 2010) (considering a settling party’s defenses to the claims, attacks on evidentiary foundations,

 and counterclaims for offsets against any damages awarded).

         45.     The Debtors will receive $15 million in consideration from Sun Capital in exchange

 for the release of all claims and causes of action against the Debtor Releasees. The resolution of

 these matters will represent a critical building block for the Debtors to proceed with an efficient

 and cost effective emergence from chapter 11. These benefits support the approval of the

 Settlement Agreement when viewed in light of the possibility of success of the Potential Claims

 and causes of action being resolved.

         46.     In fact, courts have found the uncertainty of settlement recovery to be a compelling

 factor favoring approval of a settlement. As the court stated in In re Adelphia Commc’ns Corp.,

 “there is a range of reasonableness with respect to a settlement—a range which recognizes the

 uncertainties of law and fact in any particular case and the concomitant risks and costs necessarily

 inherent in taking any litigation to completion.” See In re Adelphia Commc’ns Corp., 368 B.R.

 140, 159 (Bankr. S.D.N.Y. 2007); see also O’Connell v. Packles (In re Hilsen), 404 B.R. 58, 71

 (Bankr. E.D.N.Y. 2009) (“[T]he outcome of litigation is nearly always uncertain and may be

 distant. It is also costly. And the enforcement of any resulting judgment may be far from sure. A

 settlement, by contrast, eliminates uncertainty and delay, reduces costs, and brings finality to the

 parties’ dispute.”).

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        47.     In this case, the benefits to be obtained under the Settlement Agreement more than

 justify the Debtors’ decision to settle the Potential Claims and causes of action against the Released

 Parties. The Settlement Agreement provides substantial benefits to the Debtors’ estates, including

 cash contributions of $15 million, and waivers of claims against the Debtors’ estates. By contrast,

 pursuing the Potential Claims and causes of action against the Released Parties would result in the

 Debtors spending millions of dollars and potentially years in litigation—with no assurance of

 success—while the estates would continue to be hamstrung in their liquidity and ability to make

 immediate distributions to secured and administrative creditors.

        B.      The Uncertainty Regarding Difficulties of Collection Weigh in Favor of
                Approving the Release Provisions of the Settlement Agreement.

        48.     With respect to the second TMT factor—the difficulties, if any, to be encountered

 in the matter of collection—the appeals process may hinder any collection. In addition to

 considering whether the parties to the settlement have the ability to pay a judgment, courts

 evaluating this factor have also looked at whether the party opposing a judgment has the ability

 and desire to engage in litigation through the appellate process. See In re Boddie, 569 B.R. 297,

 308 (Bankr. S.D. Ohio 2017) (“[T]he Court would be remiss if it did not acknowledge that PNC

 has the financial resources to sustain litigation over an extended period of time and may appeal

 any judgment obtained by Trustee. Thus, although there is little doubt that any judgment would

 ultimately be collectible, collection of the judgment could be delayed, if PNC elected to pursue its

 appellate rights.”); see also In re Key3Media Group, Inc., 336 B.R. 87, 97 (Bankr. D. Del. 2005),

 aff’d, 03-10323 (MFW), 2006 WL 2842462 (D. Del. Oct. 2, 2006) (finding the second TMT factor

 favored settlement because, among other reasons, if a judgment was pursued, “[t]he collection of

 a judgment could be further delayed by the potential for appeal”).

        49.     While it is unclear what SKO Group and Sun Capital would do in this situation,

 entities affiliated with Sun Capital have shown that they will engage in litigation at the appellate
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 level, even up to the Supreme Court. See, e.g., Sun Capital Partners III, LP v. New Eng. Teamsters

 & Trucking Indus. Pension Fund, 724 F.3d 129, 137 (1st Cir. 2013); Czyzewski v. Jevic Holding

 Corp. (Jevic), 137 S. Ct. 973, 976 (2017). While the Debtors believe Sun Capital would honor

 any required collections, the pressures and complexity of these chapter 11 cases mean that any

 potential future collection would not directly benefit the Debtors now, when it is most needed in

 their reorganization efforts. For example, in Jevic, while an affiliate of Sun Capital was a

 respondent, the appeals process left issues unresolved until 2017 for a bankruptcy filed in 2008.

 Jevic, 137 S. Ct. at 976.

        50.     The Debtors have an immediate need for the proceeds of the Settlement, as they

 will be critical in helping the Debtors resolve the remaining issues in these contested chapter 11

 cases. Denying the Settlement would not only force the Debtors to bear the risk of the possible

 difficulties of future collection of a to-be-determined future judgment, but it would deprive the

 Debtors of funds they need now.

        C.      The Likelihood of Complex and Protracted Litigation Is a Near Certainty and
                Weigh in Favor of Approving the Release Provisions of the Settlement
                Agreement.

        51.     The third TMT factor—the likelihood of complex and protracted litigation, with its

 attendant expense and inconvenience—strongly favors settlement. Where litigation would result

 in substantial expense, inconvenience, and delay, courts have found that this factor favors

 settlement. Ritchie Capital Mgt., L.L.C. v. Kelley, 785 F.3d 273, 281 (8th Cir. 2015) (affirming

 lower court’s decision to approve a settlement where bankruptcy court found “the case involve[d]

 ‘complex issues, unsettled law, and massively complicated factual disputes,’” and where “the

 resolution of the claims ‘would entail a much larger infrastructure, much more procedure and much

 more costs for the resolution of disputes’ and would ‘grind [the] process down to a much lower

 speed, make it much more expensive and potentially drag this on for longer than it will drag on’”);

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 see also In re Michael, 183 B.R. 230, 239 (Bankr. D. Mont. 1995) (“The third factor is the

 complexity of the litigation involved, and the expense, inconvenience and delay necessarily

 attending it. This litigation is near its end, and little complexity remains. The facts are simple and

 stipulated. The law has been to a large part researched, except for the final briefs. While there

 may be further delay upon appeal, this Court finds that the third factor weighs against settlement.”).

        52.     This factor clearly favors settlement. First, no litigation has even been commenced.

 Only potential claims have been considered. No complaint has been filed. Second, the matters in

 dispute here are complex. These matters include potential claims against the released parties for

 actual fraudulent transfer, constructive fraudulent transfer, breach of fiduciary duty, aiding and

 abetting breach of fiduciary duty, breach of contract, tortious interference with contract, unjust

 enrichment, and illegal dividends. The litigation of these matters would otherwise cost the estates

 substantial time, money, and resources. By entering into the Settlement Agreement, the Debtors

 are able to mitigate litigation risk and avoid the cost, time, and delay of litigation. Complicated

 factual and legal questions would likely be raised on motions to dismiss and for summary

 judgment, adding significant expense and uncertainty before even getting to trial (assuming any

 claims survived motion practice). Extensive expert work would also be required for most claims,

 ensuring that discovery would be protracted, complex, and costly. In re Worldcom, Inc., 2003 WL

 23861928, at *43 (Bankr. S.D.N.Y. Oct. 31, 2003) (approving settlement and explaining that “ the

 avoidance of long and complicated litigation is one of the principal rationales for debtors entering

 into settlements with creditors”). And even after trial, there is a likelihood that the losing party or

 parties would appeal and cause further delay, expense and uncertainty. See In re Adelphia

 Commc’ns Corp., 368 B.R. 140, 242-43 (Bankr. S.D.N.Y. 2007). Third, with respect to expense,

 the cost of pursuing such a claim is likely to be significant. The Debtors would incur substantial,

 indirect costs from litigation. Most concretely, litigation would require document requests and

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 other discovery from the Debtors and their personnel, which would be a major distraction and

 could materially interfere with efforts to successfully resolve these chapter 11 cases. See In re

 Key3Media Group, Inc., 336 B.R. 87, 97 (Bankr. D. Del. 2005) (“[T]he self-serving offer of the

 [creditors’] counsel to prosecute this matter on a contingency fee basis may arguably mitigate the

 costs of litigation, but does not necessarily eliminate the costs involved, either monetarily, or in

 terms of the delay involved.”), aff’d, No. 03-10323 (MFW), 2006 WL 2842462 (D. Del. Oct. 2,

 2006). If any case were taken on a contingency fee, that may allow the estates to defray the costs

 of litigation on the front-end, however, any recovery would need to be discounted based on the

 amount of the contingency fee. The Special Committee has requested the UCC to provide the

 proposed amount of this fee, but the UCC has not answered. Based on experience with similar

 cases, this fee could be as high as 40 percent. In sum, this factor favors settlement.

        D.      The Paramount Interests of Creditors Weigh in Favor of Approving the
                Release Provisions of the Settlement Agreement.

        53.     With respect to the fourth TMT factor—the paramount interests of creditors—the

 Settlement Agreement provides certainty to creditors, and also provides substantial value that will

 help the Debtors’ emergence from bankruptcy. With the complexity of the Debtors’ chapter 11

 cases and the immediate need for liquidity to fund recoveries to the Debtors’ secured and

 administrative claimants, the Settlement Agreement is clearly in the best interests of the creditors.

 Although some stakeholders may object to settling any claims, the fact that only some creditors

 do not support the settlement, while other creditors do support the settlement, only serves to

 neutralize the factor. In re Auge, 559 B.R. 223, 233 (Bankr. D.N.M. 2016) (noting that where the

 creditors are divided, “[t]his factor is neutral”). The Settlement requires the support of the certain

 of the Debtors’ key stakeholders to be effective. The Debtors are confident that this condition will

 be satisfied and that the Settlement Agreement will have the support of these key stakeholders.

 Besides avoiding potentially expensive and protracted litigation, the Debtors will have an
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 immediate, substantial cash infusion from the Settlement, which will directly benefit the Debtors’

 creditors.

         54.      The benefits of the Settlement Agreement are immediate and obvious. The $15

 million payment is undeniably substantial. Moreover, the avoidance of costly and unpredictable

 litigation allows the Debtors to move forward with its reorganization efforts. By securing the

 substantial guaranteed benefits of the Settlement Agreement, the Debtors avoid taking unnecessary

 litigation risks.

 II.     The Releases Contained in the Settlement Agreement Are Appropriate.

         55.         The proposed releases given to the Released Parties under the Settlement

 Agreement are appropriate, reasonable, and an integral part of the Settlement Agreement and

 permissible under Rule 9019 of the Bankruptcy Rules. Claims and causes of action held by a

 debtor become property of the estate upon the filing of a chapter 11 petition, and the debtor in

 possession is “vested with the power to settle the estate’s claims.” Police & Fire Retirement Sys.

 v. Ambac Fin. Grp. (In re Ambac Fin. Grp., Inc.), No. 10-B-15973 (SCC), 2011 WL 6844533, at

 *2 (S.D.N.Y. Dec 29, 2011) (quoting Smart World Techs., LLC v. Juno Online Servs., Inc., 423

 F.3d 166, 175 (2d Cir. 2005)); see also In re Adelphia, 368 B.R. 140, 263 n.289 (Bankr. S.D.N.Y.

 2007) (“The Debtors have considerable leeway in issuing releases of any claims the Debtors

 themselves own.”); In re Oneida Ltd., 351 B.R. 79, 94 n.21 (Bankr. S.D.N.Y. 2006) (noting that a

 debtor is permitted to release claims that it owns). A debtor in possession maintains authority to

 settle claims if it deems “that choice to be the proper course of action.” In re Ambac Fin. Grp.,

 Inc., 2011 WL 6844533 at *2. A debtor in possession may seek approval to settle claims in the

 context of a plan of reorganization, under section 1123(b)(3)(A) of the Bankruptcy Code, or

 outside of the context of a plan of reorganization, under Rule 9019 of the Bankruptcy Rules.




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        56.     As explained above, under the Eighth Circuit’s four-factor test for approving

 settlements under Rule 9019, the Settlement Agreement and the releases provided therein are

 permissible, reasonable, and appropriate.

        57.     Without the releases, Sun Capital would not have agreed to the terms of the

 Settlement Agreement or to provide the Debtors and their estates with the substantial value that is

 being provided therein. While the Debtors are releasing all claims against Sun Capital and its

 affiliates, other than the 2015 dividend payments, the Debtors are not aware of any other potential

 claims that are being released. And with respect to the 2015 dividend payment, the strongest

 Potential Claims, as discussed in greater detail above, litigating the claims addressed by the

 Settlement Agreement through trial and all appeals would require the expenditure of substantial

 estate funds, and the Debtors’ success in such litigation is uncertain. The releases reasonably and

 justifiably take into account the uncertainty and costs of any actual litigation of claims. Further,

 the substantial consideration being provided to the Debtors’ estates and their creditors as part of

 the Settlement Agreement reflects a favorable resolution of the claims. Given the uncertain

 prospects of recovery, along with the inevitable costs, delay, and risk of loss inherent in pursuing

 litigation, providing releases of claims owned by the Debtors in exchange for the substantial

 consideration provided under the Settlement Agreement is entirely reasonable, a sound exercise of

 business judgment, and is fair and equitable and in the best interests of the Debtors’ estates.

                               Waiver of Bankruptcy Rule 6004(a)

        58.     To implement the foregoing successfully, the Debtors seek a waiver of the notice

 requirements under Bankruptcy Rule 6004(a), the 14-day stay of an order authorizing the use, sale,

 or lease of property under Bankruptcy Rule 6004(h), and the requirements under Local Rule 6004-

 1.



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                                                 Notice

        59.     The Debtors have provided notice of this Motion to the following parties or their

 respective counsel: (a) the office of the U.S. Trustee for the District of Nebraska; (b) counsel to

 the UCC; (c) the agents under the Debtors’ prepetition asset-based facility; (d) the agents under

 the proposed DIP Facility; (e) the agents under the Debtors’ prepetition term loan facility; (f) the

 Internal Revenue Service; (g) the United States Securities and Exchange Commission; (h) the

 office of the attorneys general for the states in which the Debtors operate; (i) the United States

 Attorney’s Office for the District of Nebraska; (j) counsel to Sun Capital; (k) counsel to Monarch;

 and (l) any party that has requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit

 that, in light of the nature of the relief requested, no other or further notice need be given.

                                          No Prior Request

        60.     No prior request for the relief sought in this Motion has been made to this or any

 other court.

                             [Remainder of page intentionally left blank.]




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        WHEREFORE, the Debtors respectfully request that the Court enter the Order granting the

 relief requested herein and such other relief as the Court deems appropriate under the

 circumstances.

 Dated: May 6, 2019             /s/ Michael T. Eversden
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                                Debtors




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                                    Exhibit A

                              Settlement Agreement
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                                                                             EXECUTION VERSION

                    SETTLEMENT AGREEMENT AND MUTUAL RELEASE

          THIS SETTLEMENT AGREEMENT (the “Agreement”) is entered into and effective as
 of this 6th day of May, 2019, by and among Specialty Retail Holding Corp., a Wisconsin
 corporation having its principal office at 700 Pilgrim Way, Green Bay, Wisconsin 543044
 (“Shopko” or the “Company”), and its debtor affiliates in In re Specialty Retail Shops Holding
 Corp. (Case No. 19-80064, Bankr. Neb.) (collectively with Shopko, the “Debtors”), Sun Capital
 Partners, Inc., a Florida corporation, having its principal office at 5200 Town Circle Center, 4th
 Floor, Boca Raton, Florida 33486 (“Sun Capital”), and Sun Capital affiliates SKO Group Holding,
 LLC, a Delaware limited liability company (“SKO Group”); Sun SKO, LLC, a Delaware limited
 liability company (“Sun SKO”); and Sun Capital Partners Management IV, LLC, a Delaware
 limited liability company, and Sun Capital Partners IV, LP, a Delaware limited partnership (“IV
 LP”) (“SCM” and collectively with Sun Capital, SKO Group, Sun SKO, and IV LP, the “Sun
 Parties”).

                                             RECITALS

       WHEREAS, Shopko entered into a merger agreement with SKO Group Holding Corp.
 (“SKO Group”), an affiliate of Sun Capital, on October 18, 2005;

          WHEREAS, the Debtors paid certain dividends from Shopko to SKO Group on the
 following dates: (a) May 14, 2007 ($55 million); (b) September 24, 2010 ($20 million); (c)
 December 3, 2010 ($10 million); (d) August 29, 2013 ($44,531,900); and (e) June 19, 2015 ($50
 million) (the “Dividend Transactions”). Additionally, prior to its bankruptcy filing (y) the Debtors
 made payments to the Sun Parties or their affiliates under certain management consulting
 agreements and (z) the Debtors engaged in certain other transactions with the Sun Parties or their
 affiliates that were reported in their consolidated financial statements as related party transactions
 (together with the Dividend Transactions, the “Sponsor Transactions”).

         WHEREAS, on November 26, 2018, the board of directors of Shopko authorized the
 formation of a special committee of disinterested directors (the “Special Committee”) to, among
 other things, review matters regarding transactions or negotiations which the Special Committee
 determines in whole or in part may involve conflicts of interest;

        WHEREAS, on January 16, 2019, the Debtors filed voluntary petitions for relief under
 chapter 11 of title 11 of the United States Code in United States Bankruptcy Court for the District
 of Nebraska (the “Bankruptcy Court”);

       WHEREAS, on January 18, 2019, the United States Trustee appointed the official
 committee of unsecured creditors (the “UCC”);

        WHEREAS, in connection with the filing of the chapter 11 cases, the Special Committee
 has been investigating claims that the Debtors’ estates may be able to assert against the Sun Parties
 and other insiders arising out of the parties’ respective business dealings and dividend payments;

       WHEREAS, on March 12, 2019, the UCC filed the Motion Of The Official Committee Of
 Unsecured Creditors For Entry Of An Order Authorizing The Committee To Prosecute Certain
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 Claims On Behalf Of The Bankruptcy Estates seeking authority to pursue alleged claims for
 avoidance of certain of transactions related to the Sun Parties, breaches of fiduciary duty by the
 Sun Parties and others, and equitable subordination;

          WHEREAS, the Sun Parties believe that such claims are without merit and deny any
 liability to Shopko, but have expressed a desire to address those, and any other potential claims
 the Debtors and their estates may have against the Sun Parties, in a comprehensive manner that
 resolves any claims against the Sun Parties and entities or persons related to the Sun Parties and
 resolves claims that might be asserted against directors, officers and other parties relating to the
 Debtors;

          WHEREAS, after conducting extensive diligence and analysis regarding the potential
 estate claims, including meeting with the UCC’s advisors on multiple occasions and reviewing
 documents produced by the Company and the Sun Parties, the Special Committee has determined
 that a settlement of estate claims as set forth in this Agreement is in the best interests of these
 estates;

         WHEREAS, after extensive, arms-length negotiation, the parties desire to fully resolve and
 their disputes without the risk or expense of litigation; and

        WHEREAS, the parties have negotiated and reached this Agreement in good faith, each
 represented by counsel.

                                          AGREEMENT

         NOW, THEREFORE, in consideration of the mutual promises and limited releases set
 forth herein, the parties hereby agree as follows:

        1.      RECITALS. The recitals set forth above are an integral part of this Agreement
 and are incorporated herein by reference.

         2.      PAYMENT. On the Effective Date, the Sun Parties shall remit to Shopko the
 sum of $15,000,000.00 (the “Settlement Amount”) in immediately available funds, pursuant to
 wire instructions to be provided by Shopko. The Settlement Amount shall be applied by the
 Debtors as required by paragraph 1.6 of the Final Order Pursuant to 11 U.S.C. §§ 105, 361, 362,
 363, 364, and 507 and Fed. R. Bankr. P. 2002, 4001 and 9014 (I) Authorizing Debtors and
 Debtors in Possession to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash
 Collateral, (III) Granting Liens and Providing Superpriority Administrative Expense Status, (IV)
 Granting Adequate Protection to the Prepetition Lenders, (V) Modifying the Automatic Stay, and
 (VI) Granting Related Relief, by being placed in a segregated account maintained by the Debtors
 and not used for any payment or distribution of any kind except in accordance with the terms
 thereof.

         3.     RELEASE BY THE DEBTORS. For good and valuable consideration, the
 sufficiency of which is hereby acknowledged, the Debtors, on behalf of themselves and their
 respective estates, including, without limitation, any successor, trustee, or estate representative,
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 and its and their insurers, predecessors, successors, assigns, and current and former officers,
 directors, equity holders, shareholders, stockholders, partners, members, managers, employees,
 attorneys and agents (the “Debtor Releasors”), as of the Effective Date (as defined below), release,
 remise and forever discharge (a) the Sun Parties and each of their respective current and former
 affiliates, parents, equity holders, shareholders, stockholders, subsidiaries and co-investors
 (collectively the “Primary Sun Releasees”), and each of the Primary Sun Releasees respective current
 and former successors, assigns, equity holders, shareholders, stockholders, officers, directors,
 members, managers, principals, employees, agents, advisory board members, financial advisors,
 partners, attorneys, accountants, investment bankers, consultants, representatives, insurers and other
 professionals, each in their capacity as such (together with the Primary Sun Releasees the “Sun Capital
 Releasees”); and (b) the Debtors’ current and former officers, directors, members, managers,
 principals, employees, agents, advisory board members, financial advisors, partners, attorneys,
 accountants, investment bankers, consultants, representatives, and other professionals, each in their
 capacity as such (together with the Sun Capital Releasees the “Debtor Releasees”) of and from any
 and all debts, demands, actions, causes of action, suits, damages, claims and liabilities whatsoever of
 every name and nature, whether known or unknown, that the Debtor Releasors now have, ever had,
 or in the future may have against the Debtor Releasees; provided, however, that nothing herein shall
 be construed to release any of the Debtor Releasees from any liability, duty or obligation expressly
 arising under this Agreement. The Debtor Releasors hereby consciously accept the risk that the
 scope of this release may include future damages, injuries, claims, obligations and liabilities that
 are presently unknown, unforeseen or not yet in existence and consciously intend to release same.

          4.     RELEASE OF THE DEBTORS BY THE SUN PARTIES. For good and
 valuable consideration, the sufficiency of which is hereby acknowledged, the Sun Parties and, to the
 extent they may legally do so, the Sun Parties on behalf of each of their respective current and former
 affiliates, parents, equity holders, shareholders, stockholders, subsidiaries and co-investors
 (collectively the “Primary Sun Releasors”), and each of the Primary Sun Releasors’ respective current
 and former equity holders, shareholders, stockholders, partners, members, managers, officers,
 directors, employees, attorneys, agents, representatives, insurers, successors and assigns (together
 with the Primary Sun Releasors the “Sun Capital Releasors”), as of the Effective Date, release, remise
 and forever discharge the Debtors, their estates, current and former affiliates, parents, subsidiaries,
 equity holders, shareholders, stockholders, partners, members, managers, officers, directors,
 employees, attorneys, financial advisors, agents, representatives, insurers, successors and assigns, of
 and from any and all debts, demands, actions, causes of action, suits, damages, claims and liabilities
 whatsoever of every name and nature, whether known or unknown, that the Sun Capital Releasors
 now have, ever had or in the future may have against the Debtor Releasors; provided, however, that
 nothing herein shall be construed to release any of the Debtor Releasors from any liability, duty or
 obligation expressly arising under this Agreement. The Sun Capital Releasors hereby consciously
 accept the risk that the scope of this release may include future damages, injuries, claims,
 obligations and liabilities which are presently unknown, unforeseen or not yet in existence and
 consciously intend to release same.

        5.      EFFECTIVE DATE. This Agreement shall become effective upon the date on
 which all of the conditions set forth in paragraph 6 herein are satisfied (the “Effective Date”).


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        6.     CONDITIONS TO EFFECTIVE DATE. It shall be a condition to the Effective
 Date of this Agreement that each of the following conditions shall have been satisfied unless
 waived by the Sun Parties:

               (a) prior to the Bankruptcy Court hearing to approve the Agreement, the Special
                   Committee and Sun Capital shall receive written confirmation (email being
                   sufficient) that each of Wells Fargo Bank National Association, Shopko Note
                   Holding, LLC, and Monarch Alternative Capital, LP shall support the approval and
                   consummation of the Agreement;

               (b) by not later than June 14, 2019, the Bankruptcy Court shall have entered an order
                   approving this Agreement in a form reasonably acceptable to the Special
                   Committee and the Sun Parties (the “Bankruptcy Court Order”);

               (c) by not later than, June 28, 2019, the Bankruptcy Court Order shall become a Final
                   Order1; and

               (d) prior to the Bankruptcy Court Order becoming a Final Order, the Bankruptcy
                   Court shall have not granted the Motion of Official Committee of Unsecured
                   Creditors for Entry of an Order Authorizing the Committee to Prosecute Certain
                   Claims on Behalf of the Bankruptcy Estates (Bankruptcy Court Docket No. 641).

 If any of the foregoing four conditions to the Effective Date have not been satisfied by their
 respective deadlines set forth in this Section 6 and have not been waived by the Sun Parties, this
 Agreement shall terminate and shall be null and void.

          7.      REPRESENTATION BY AND CONSULTATION WITH COUNSEL. The
 parties represent and warrant that: (a) each has read and understands the terms of this Agreement
 and is duly authorized to enter into this Agreement, (b) each has been represented by counsel with
 respect to the negotiation and execution of this Agreement and all matters covered by and relating
 to it, and (c) each has entered into this Agreement of its own free will and for reasons of its own
 and not based upon representations of any other party hereto.

         8.     DEBTORS’ COVENANTS. The Debtors do hereby covenant and agree as
 follows: (a) they will use commercially reasonable efforts to obtain releases in any confirmed plan
 of reorganization that are similar in all material respects to, and no less favorable to the Sun Parties
 than, the releases contained in the Second Amended Joint Chapter 11 Plan of Specialty Retail
 Shops Holding Corp. and Its Debtor Affiliates and this Agreement; and (b) the Debtors will use


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  “Final Order” shall mean (i) the Bankruptcy Court Order has not been reversed, modified or amended, and is not
 stayed; (ii) the time to appeal from or to seek review or rehearing or petition for certiorari with respect to such
 Bankruptcy Court Order has expired; and (iii) the Bankruptcy Court Order is no longer subject to review, reversal,
 modification or amendment; provided, however, that the mere possibility that a motion under Rule 60 of the Federal
 Rules of Civil Procedure, or any analogous rule, may be filed relating to such order or judgment shall not cause such
 order not to be a “Final Order.”
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 commercially reasonable efforts to cooperate with any efforts by the Sun Parties to defend against
 claims asserted against the Sun Parties that have been released pursuant to this Agreement.

         9.      REPRESENTATION REGARDING DOCUMENT PRODUCTIONS. The
 Sun Parties represent that as of the Effective Date they, or their attorneys, including their outside
 counsel, have (a) conducted a search for documents based upon search terms, date ranges and
 custodians agreed upon between the Special Committee and the Sun Parties, (b) engaged in a good
 faith effort to identify all documents requested by the Special Committee that were located in
 connection with such search, and (c) provided to the Special Committee all non-privileged
 documents requested by the Special Committee or its attorneys and advisors that were located in
 this manner.

        10.     NO ASSIGNMENT OF CLAIMS. The Sun Parties and the Debtors, on behalf of
 themselves and the Sun Capital Releasors and the Debtor Releasors, respectively, each represent
 and warrant that neither it nor any of its agents, representatives, officers, employees or attorneys
 has assigned, transferred, pledged, or hypothecated, or purported to assign, transfer, pledge or
 hypothecate, any actual or alleged claims, obligations or liabilities that are the subject of this
 Agreement and/or that are released in either Paragraphs 3 or 4 of this Agreement.

        11.    MUTUAL COOPERATION. The parties agree to cooperate, and to execute such
 additional documents as may reasonably be necessary, in order to effectuate and finalize this
 Agreement and the settlement described herein.

         12.     INTEGRATION AND MERGER CLAUSE. This Agreement embodies the
 entire agreement between the parties hereto with respect to the subject matter hereof and there
 have been and are no agreements, representations, or warranties, whether express or implied,
 written or oral, other than those set forth or provided for herein. Other than as stated herein, each
 party hereto warrants that no representation, promise, or inducement has been offered or made to
 induce such party to enter into this Agreement.

       13.    AMENDMENT OF AGREEMENT. The terms of this Agreement may only be
 amended or modified by a writing that has been executed by each of the parties hereto.

          14.     CONSTRUCTION. This Agreement was drafted with the assistance of counsel
 for all parties and shall not be construed in favor of or against any party.

         15.    EXECUTION. This Agreement may be executed in two or more counterparts each
 of which shall be deemed an original but all of which together shall constitute but one and the
 same instrument. Executed signature pages may be removed from partially executed counterparts
 and attached to one or more other counterparts in order to produce fully executed counterparts of
 this agreement. This agreement may be executed by facsimile copy, and each signature thereto
 shall be and constitute an original signature, again as if all parties had executed a single original
 document. This Agreement shall be originally executed as many times as required to provide a
 fully executed duplicate original of such document to each party hereto.


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         16.    NO ADMISSION OF LIABILITY. The parties agree that the settlement
 embodied in this Agreement represents the compromise of disputed claims and agree that nothing
 in this Agreement shall be construed as an admission of any fault or liability with respect to any
 claim, obligation or liability released. All communications (whether oral or in writing) between
 and/or among the parties, their counsel and/or their respective representatives relating to,
 concerning or in connection with this Agreement, or the matters covered hereby and thereby, shall
 be governed and protected in accordance with the Federal Rule of Evidence 408.

        17.     THIRD PARTY BENEFICIARIES. This Agreement shall not confer any rights
 or remedies upon any person other than the parties hereto, each Debtor Releasor, each Debtor
 Releasee, each Sun Capital Releasor. and each of their respective successors and permitted assigns.

         18.      FIDUCIARY OBLIGATIONS. Nothing in this Agreement, or any document
 related to the transactions contemplated hereby, will require the Debtors’ or any of their directors
 or officers, or other similar governing body or fiduciary, to take any action, or to refrain from
 taking any action, to the extent such person or body determines that taking such action, or
 refraining from taking such action, may be inconsistent with applicable law or its or their fiduciary
 obligations under applicable law.

        19.    CHOICE OF LAW. This Agreement shall be construed and interpreted in
 accordance with the laws of the State of New York without regard to principles of conflicts of
 laws.

         20.     HEADINGS. The parties agree that the captions and headings in this Agreement
 are inserted for convenience of reference only and are not part of, and shall not affect the
 interpretation of, this Agreement.

       21.     NOTICE. All notices to be made pursuant to or in connection with this
 Agreement may be made by mail, overnight delivery or facsimile and shall be deemed effective
 when sent if made as follows:

                    To the Sun Parties:
                                               Sun Capital Partners, Inc.
                                               5200 Town Center Circle, 4th Floor
                                               Boca Raton, FL 33486
                                               Attention:    C. Deryl Couch
                                               Email:        dcouch@suncappart.com


                    With a copy to:
                                               Morgan, Lewis & Bockius LLP
                                               101 Park Ave.
                                               New York, New York 10178
                                               Attention:    Craig A. Wolfe
                                               Email:        craig.wolfe@morganlewis.com

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                    To the Debtors:
                                             Specialty Retail Shops Holding Corp.
                                             700 Pilgrim Way
                                             Green Bay, Wisconsin 54304
                                             Attention:     Russell Steinhorst, CEO
                                                            Susan Buckna, General Counsel
                                             Email:         russ.steinhorst@shopko.com
                                                            susan.buckna@shopko.com

                    with a copy to:

                                             Willkie Farr & Gallagher LLP
                                             787 Seventh Avenue
                                             New York, New York 10019
                                             Attention:    Brian Lennon
                                                           Todd Cosenza
                                             Email:        BLennon@willkie.com
                                                           TCosenza @willkie.com


      22.  WAIVER OF JURY TRIAL.     THE PARTIES EXPRESSLY AND
 IRREVOCABLY WAIVE ANY RIGHT TO TRIAL BY JURY FOR ANY CLAIM,
 COUNTERCLAIM, ACTION OR OTHER PROCEEDINGS ARISING UNDER OR
 RELATING TO THIS AGREEMENT, ANY RIGHTS OR OBLIGATIONS HEREUNDER,
 THE PERFORMANCE OF SUCH RIGHTS AND OBLIGATIONS OR THE
 RELATIONSHIP BETWEEN THE PARTIES, IN EACH CASE WHETHER SUCH
 CLAIM, COUNTERCLAIM, ACTION OR OTHER PROCEEDING IS NOW EXISTING
 OR HEREAFTER ARISING, AND WHETHER SOUNDING IN CONTRACT OR TORT
 OR OTHERWISE.




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          May 6




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                               SPECIALTY RETAIL SHOPS HOLDING CORP., on
                               behalf of itself and its debtor affiliates


         May 6
 Dated: -----  , 2019.


                               By: Steven Winograd

                               Its: Independent Director


                               SPECIALTY RETAIL SHOPS HOLDING CORP., on
                               behalf of itself and its debtor affiliates


 Dated: -----, 2019.


                               By: Mohsin Meghji

                               Its: Independent Director
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                                SPECIALTY RETAIL SHOPS HOLDING CORP., on
                                behalf of itself and its debtor affiliates


 Dated: _____________, 2019.    _____________________________________________


                                By: Steven Winograd

                                Its: Independent Director


                                SPECIALTY RETAIL SHOPS HOLDING CORP., on
                                behalf of itself and its debtor affiliates


          May 6
 Dated: _____________, 2019.    _____________________________________________


                                By: Mohsin Meghji

                                Its: Independent Director
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                                    Exhibit B

                                Verost Declaration




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEBRASKA

                                          )
 In re:                                   ) Chapter 11
                                          )
 SPECIALTY RETAIL SHOPS HOLDING CORP., et ) Case No. 19-80064 (TLS)
 al., 1
                                          )
                Debtors.                  ) (Jointly Administered)
                                          )

                     DECLARATION OF ADAM W. VEROST
       IN SUPPORT OF THE DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I)
     AUTHORIZING THE DEBTORS TO ENTER INTO A SETTLEMENT AGREEMENT
       WITH SUN CAPITAL PARTNERS AND (II) GRANTING RELATED RELIEF


                   I, Adam W. Verost, declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury
 that:

                   1.       I am a Partner in Ducera Partners LLC (“Ducera”), independent financial

 advisor to the Special Committee of independent and disinterested directors (the “Special

 Committee”) of Specialty Retail Shops Holding Corp. (“Shopko” or the “Company”). Ducera is

 a financial advisory services firm with its principal office located at 499 Park Avenue, 16th Floor,

 New York, New York 10022. I am the Ducera Partner with principal responsibility for advising

 the Special Committee.

                   2.       I have been a Partner in Ducera since June 2015 and am currently co-

 Chairman of Ducera’s Fairness Committee. Before joining Ducera, I was employed for more than

 eight years by Perella Weinberg Partners L.P., most recently as a Managing Director. I have also


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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157);
      Pamida Transportation LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526);
      Retained R/E SPE, LLC (6679); Shopko Finance, LLC (1152); ShopKo Gift Card Co., LLC (2161); ShopKo
      Holding Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical
      Manufacturing, LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS
      Trucking, LLC (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin,
      54304.
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 held positions at Kramer Capital Partners, LLC, Greenhill & Co., and Houlihan Lokey, Inc. I

 received a Bachelor of Science degree from Indiana University in Finance, Accounting and

 International Business.

                  3.      Ducera specializes in, among other things, providing capital structure and

 restructuring advice in workout and bankruptcy situations. Ducera’s debtor-advisory services

 include a wide range of activities including providing advice on maximizing value of the estate

 through the chapter 11 process, evaluating the needs for DIP financing and potential sources of

 such financing, assisting in developing, negotiating, and validating capital structure alternatives,

 conducting diligence on underlying business plans and liquidity projections, evaluating contracts

 and operating agreements to assess business risk from vendors, evaluating potential contract

 rejections, and analyzing tax, regulatory, and labor considerations. In addition, Ducera’s

 professionals have experience in investigating and analyzing potential claims of debtors and their

 estates.

                  4.      I submit this Declaration to support the relief requested in the Debtors’

 Motion for Entry of an Order (I) Authorizing the Debtors to Enter into a Settlement Agreement

 with Sun Capital Partners and (II) Granting Related Relief (the “Motion”). 2

                  5.      I have reviewed the Motion, including the exhibits attached to it. I am

 familiar with the facts and circumstances of the chapter 11 cases.

                  6.      This Declaration is based on my personal knowledge, information gathered

 from Ducera’s review of relevant documents, and information supplied to Ducera by current and

 former members of the Debtors’ management and the Debtors’ advisors.




 2
     Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.


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                7.     In December 2018, the Special Committee retained Ducera as independent

 financial advisor to provide assistance and financial advisory services in connection with these

 chapter 11 cases. Ducera’s responsibilities have included providing advice in connection with an

 investigation of certain transactions between the Debtors and their equity sponsors (the

 “Investigation”), among which was Sun Capital Partners, Inc. and certain of its affiliates (“Sun

 Capital”). Among others, Ducera’s roles in the Investigation included an examination of the

 Debtors’ solvency at various points critical to determining the viability of pursuing Potential

 Claims, a review of the solvency opinions prepared by Duff & Phelps in August 2013 and June

 2015, and a report documenting Ducera’s analysis and conclusions.

                8.     Ducera undertook a thorough, multi-step analysis before reaching its

 conclusions, which are based on the information Ducera reviewed and developed, and Ducera’s

 experience in securities and business valuations, and general financial market conditions. In the

 course of the Investigation, Ducera performed the following tasks primarily focusing on issues

 relating to the 2015 dividend transaction:

                       a.      reviewed and analyzed audited financial statements of the Debtors;

                       b.      reviewed and analyzed the Debtors’ monthly management reports;

                       c.      reviewed and analyzed valuation grids prepared by Sun Capital;

                       d.      reviewed and analyzed solvency reports prepared by Duff & Phelps
                               in June 2015 and August 2013;

                       e.      reviewed and analyzed financing documents and amendments from
                               the time of the 2015 and 2013 dividend transactions;

                       f.      reviewed e-mail correspondence by the Debtors and Sun Capital
                               employees;

                       g.      participated in meetings with advisors of the official committee of
                               unsecured creditors and Sun Capital;

                       h.      participated with counsel in interviews with the Debtors’



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                               employees, including Russell Steinhorst, Mary Meixelsperger, Gary
                               Gibson, and Kelly Weerts; and

                       i.      reviewed and analyzed historical actual performance relative to
                               forecasts for periods prior to the dividend transactions.

                9.     Ducera performed valuation and comparative analyses using generally

 accepted valuation and analytical techniques, including discounted cash flows analysis and

 comparable public companies analysis.

                10.    Ducera reviewed the report of the Michel-Shaked Group (“Shaked”), filed

 with the Court on March 12, 2019. Shaked appears to have concluded that the Debtors were

 insolvent based upon one or more discounted cash flow analyses that are premised on the Debtor’s

 downside “sensitivity case” as further modified by Shaked without consultation with Company

 management. Furthermore, Shaked appears to choose not to use a comparable public company

 analysis on the basis that there are no sufficiently comparable companies.

                11.    On March 22, 2019, during a meeting of the Special Committee, I orally

 delivered Ducera’s report and conclusions concerning Ducera’s investigation of the Debtors’

 solvency as of June 19, 2015, the date of the dividend transactions in 2015. Ducera’s report was

 subsequently finalized and reduced to writing. A true and correct copy of Ducera’s investigation

 report is attached to this declaration as Annex A and incorporated hereto.

                12.    Ducera concluded that the Debtors were most likely solvent at the time of

 the 2015 dividend transaction. Further, Ducera determined that the financial forecast (the “Shopko

 Forecast”) utilized by Duff & Phelps at the time of the 2015 dividend transactions was the most

 appropriate forecast available at the time to use for an assessment of value and solvency. In

 reaching this conclusion, Ducera took into account that the Debtors’ management provided letters

 to Duff & Phelps that validated the reliability of Duff & Phelps’ assumptions, and that such

 assumptions represented managements’ best estimates for future operating performance and


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 financial performance of the Company. Additionally, during interviews conducted in the course

 of the investigation in March 2019, the Debtors’ employees represented that the assumptions were

 accurate, and while acknowledging certain risks, that they were the best available assumptions at

 that time of the 2015 dividend transactions. Specifically, Ducera discussed the historical financial

 performance of the Company with Shopko’s current CEO and other members of management and

 none suggested a more reliable forecast or that the Shopko Forecast was unreliable.

                13.     Ducera reviewed and analyzed, as of the date of the 2015 dividend

 transactions, the Debtors’ ability to pay its debts as they came due. Ducera concluded that Shopko

 was reasonably expected to be able to pay its debts as they came due, considering both the Shopko

 Forecast and the downside “sensitivity case” to the Shopko Forecasts.

                14.     Furthermore, in the course of its investigation, Ducera identified no

 contemporaneous forecasts developed by management or Sun Capital that materially differed from

 the Shopko Forecast. Ducera is not aware of any efforts by Sun Capital or other parties to pressure

 Shopko management to put forth projections that Shopko management found to be unreasonable.

 Ducera identified no evidence suggesting Sun Capital believed at the time of the 2015 dividend

 transaction that the Shopko Forecast was unreasonable or unlikely to be achieved.

                15.     Ducera understands that the Debtors funded the 2015 dividend payment

 through incremental debt incurrence of approximately $54 million. Upon incurrence of the

 incremental debt and payment of the 2015 dividend payment, Shopko had approximately $560

 million of debt outstanding, reflecting leverage of 5.5x LTM EBITDA, and Shopko’s enterprise

 value was reasonably estimated in the range of $650 million to $750 million. Ducera also found

 that at the time of the 2015 dividend payment, Shopko’s equity value was reasonably estimated in

 the range of $123 million to $223 million.




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                16.    Based on the above valuation and analysis of the Debtors’ ability to pay its

 debts as they came due, Ducera concluded that Shopko was most likely solvent at the time of the

 2015 dividend payment. However, Ducera also acknowledged that a trier of fact in a litigation

 may conclude that forecasts with less growth and lower profitability are more appropriate.

 Additionally, a trier of fact in a litigation could conclude that the 2015 Duff & Phelps solvency

 opinion is not reliable for a determination of value or assessment of solvency.



 Dated: May 6, 2019
 New York, New York                                   By:     /s/    Adam W. Verost




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                                    Annex A

                                 Ducera Report




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Specialty Retail Shops
Holding Corp.

Report to the Special Committee




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Discussion




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Discussion
 The committee of disinterested directors (the “Special Committee”) of Specialty Retail Shops Holding Corp. (collectively with its
  subsidiaries, “Shopko”) engaged Ducera Partners LLC (“Ducera”) to prepare a report (the “Report”) concerning certain historical
  transactions of Shopko, if requested by the Special Committee

 At the request of the Special Committee, this Report provides a review of the financial condition of Shopko at the time of Shopko’s
  June 19, 2015 dividend to its shareholders in the amount of approximately $50 million (the “2015 Distribution”)

 In connection with the Report, Ducera has made such reviews, analyses and inquiries regarding Shopko and the 2015 Distribution as
  it has deemed necessary and appropriate to prepare the Report

 Ducera also took into account general economic, market and financial conditions, as well as its experience in securities and
  business valuation

 Ducera’s procedures, investigations, and financial analysis with respect to the preparation of the Report included, but were not
  limited to, the items summarized below
    – Ducera reviewed the following documents, among others:
         Shopko’s audited financial statements for the fiscal years ended 2012, 2013, 2014, 2015, and 2016
         Shopko’s monthly management reports (“Management Reports”) for the fiscal periods ending 1Q12 through 4Q16, including
          the financial projections and historical results included therein
         Valuation grids, schedules, and analysis prepared by Shopko for Sun Capital Partners, Inc. (“Sun Capital”) (“Sun Valuation
          Grids”) for the periods ending 1Q12 through 4Q16
         Credit agreements, amendments, and other documentation related to Shopko’s credit facility and its lender (Wells Fargo) at
          the time of each transaction
         The Duff & Phelps Solvency and Capital Surplus Analysis dated August 29, 2013 (“Duff & Phelps 2013 Analysis”)
         The Duff & Phelps Solvency and Capital Surplus Analysis dated June 18, 2015 (“Duff & Phelps 2015 Analysis”)
         Email correspondence among various Shopko and Sun Capital employees
         Materials prepared by The Michel-Shaked Group (“MSG”) including an expert report filed with the United States Bankruptcy
          Court for the District of Nebraska on March 12, 2019 (Doc 641) under sealed motion (“The MSG Expert Report”)


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Discussion (Continued)
      – Interviewed the following individuals regarding the information above, the background and other elements of Shopko’s August
        29, 2013 dividend to its shareholders in the amount of approximately $45 million (the “2013 Distribution”) and 2015 Distribution,
        and Shopko management’s plans and intentions with respect to the management and operation of the business at the time of the
        2013 Distribution and 2015 Distribution:
            Russ Steinhorst, current CEO of Shopko and former CFO
            Gary Gibson, Treasurer of Shopko
            Kelly Weerts, Controller of Shopko
            Mary Meixelsperger, former CFO of Shopko
      – Reviewed Shopko’s historical, actual performance relative to forecasts for periods prior to the 2013 Distribution and 2015
        Distribution
      – Performed certain valuation and comparative analyses using generally accepted valuation and analytical techniques including a
        discounted cash flow analysis and an analysis of selected public companies that Ducera deemed relevant
      – Performed certain cash flow analyses on the financial projections prepared by management and a downside “sensitivity case”
        represented by management to be reasonable at the time of the 2015 Distribution
      – Conducted other analyses and considered such other factors as Ducera deemed appropriate

     Ducera requested but did not receive the following items:
      – Interviews with employees of Sun Capital and Duff & Phelps LLC (“Duff & Phelps”) who have relevant knowledge of the 2013
        Distribution and 2015 Distribution
      – Document production from Duff & Phelps regarding its Solvency and Capital Surplus Analyses dated August 29, 2013 and June
        18, 2015




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Discussion (Continued)
 To complete certain analyses requested by the Special Committee, Ducera needed to utilize projections for the financial
  performance of Shopko as of the June 19, 2015 Distribution

 Based on the information currently available to Ducera, Ducera determined that the financial projections incorporated in the Duff &
  Phelps 2015 Analysis (“June 2015 Management Projections”) reflect the most appropriate basis for Ducera’s evaluation of Shopko
  including valuation and other analyses as of June 19, 2015
    – On June 19, 2015, Shopko management provided a letter to Duff & Phelps representing, among other things, that “the
      assumptions provided and utilized in the projected revenue and expense calculations for the Company represent management’s
      best estimates as to the future operating performance and financial results of the Company. The assumptions supporting such
      projections are both reasonable and achievable as of June 19, 2015 and have been subject to management and board (or
      managers, as applicable) review and approval”
    – Shopko management represented, with respect to the Duff & Phelps Solvency and Capital Surplus Analyses (which includes
      financial projections),“Based upon my review to date of your analysis and materials that you have provided, nothing has come to
      our attention that would cause me to believe that the assumptions underlying your analyses are unreasonable or unachievable
      given the prevailing facts and circumstances surrounding the Company and the Proposed Transaction”
    – During interviews in March 2019, Shopko’s current CEO (who was Shopko’s CFO in June 2015) confirmed that the
      representations in the June 2015 letter were accurate. Shopko’s CEO acknowledged that risks to the forecast existed at the time of
      the representations, but stated the forecasts were nonetheless the best estimate at the time and believed to be achievable.
      Shopko’s CEO also confirmed that the representations refer to all years of the forecast utilized by Duff & Phelps in both the base
      and sensitivity cases
    – Ducera reviewed and considered the historical financial performance of Shopko and the revisions to its forecasts included in the
      management reports prepared monthly
    – Ducera discussed the historical financial performance of the business, including negative variances to the forecast, and the
      expectations for store, revenue, and margin growth with Shopko’s CEO and other members of management. During the
      interviews, none of the Shopko employees suggested a more reliable financial forecast existed as of June 19, 2015 or that the
      forecasts utilized by Duff & Phelps were unreliable
    – Ducera reviewed other contemporaneous financial forecasts utilized by third parties, including investment banks proposing
      strategic alternatives for Shopko. Ducera observed that these were materially consistent with or more favorable than the
      forecasts utilized by Duff & Phelps

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Discussion (Continued)
      – Ducera reviewed communications with Shopko’s credit facility lender (Wells Fargo) and the lenders’ agreement to amend
        Shopko’s credit agreement, thereby allowing Shopko to borrow funds that would not have otherwise been available for the 2015
        Distribution

     Notwithstanding the foregoing, Ducera believes there is risk that a trier of fact in a litigation may conclude that the June 2015
      Management Projections are not reliable for determination of value, assessment of solvency, or other analyses

     For various reasons, including but not limited to the following, the trier of fact may conclude that forecasts with less growth and
      lower profitability are more appropriate
      – Following an acquisition of Pamida in January 2012, Shopko struggled to integrate Pamida’s stores as successfully as projected,
        calling into question the ability of Shopko to successfully add large numbers of stores as assumed in the management
        projections
            Unfamiliar geographies, changes to shopping patterns during conversion periods, and other operating challenges resulted in
             declining profits in 2013
            FY2013 actual EBITDA was $74.5 million compared to a budget of $132.0 million
      – Management had previously forecast the addition of approximately 30 Hometown stores per year, but had fallen behind its
        projections
            At the time of its 2013 Distribution, Shopko’s projections had assumed store growth from approximately 330 at the time of the
             2013 Distribution to 353, 383, and 413 in the years 2014 through 2016
            The June 2015 Management Projections assume store growth from approximately 330 at the time of the 2015 Distribution to
             357, 387, and 417 in the years 2015 through 2017, approximately one year delayed




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Discussion (Continued)
    – Roll-out of the Hometown store format was effectively discontinued between the 2015 Distribution and the end of FY2015,
      calling into question if, at the time of the 2015 Distribution, Shopko knew its projected growth was unlikely to be achieved
         The revenue and earnings growth reflected and represented in the management projections is dependent upon the addition of
          new Hometown stores
         The final Hometown store was opened in 2016; however, Ducera understands approval of Hometown store openings had been
          significantly reduced following the 2015 Distribution (11 stores in August, 14 stores in September, 1 store in November, and 1
          store in February 2016) reflecting a reduction in the number of Hometown stores that were projected to be opened after the
          2015 Distribution
             Only 27 Hometown stores were approved following the 2015 Distribution, relative to the projected 60 stores assumed to be
              opened after the 2015 Distribution
    – Shopko demonstrated a trend of failing to achieve its forecast revenue and EBITDA projections
         In the years 2012 through 2014, Shopko’s actual Revenue and EBITDA had fallen short of budget;
         For the years 2013 and 2015, Shopko’s financial budgets and financial results reflected a quarterly trend and pattern of
          reducing full-year EBITDA projections, reflecting Shopko’s inability to meet initial projections; and
         Shopko’s historical projections included store growth projections year over year that were not realized, but were assumed to be
          realized in the following year, suggesting Shopko’s inability to grow its store count and meet projections




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Discussion (Continued)
    – In Shopko employee interviews during March 2019, Shopko management reiterated a belief that the management projections
      were Shopko’s best estimate as of June 19, 2015, however, several comments from the management team highlighted risks and
      potential concerns, including but not limited to:
         Shopko had a limited track record in its ability to successfully grow its store count; and
         Shopko has not historically demonstrated a track record in being able to meet its forecasts and budgets
    – In addition, Ducera has reviewed certain emails from the time leading up to the 2015 Distribution that highlighted risks and
      potential concerns of management, including but not limited to:
         Management indicated potential concerns around the sizing of the 2015 Distribution;
         Management indicated potential concerns with approaching its credit facility lenders and potential reactions to a dividend
          transaction; and
         Management indicated potential concerns around Shopko’s ability to accurately project financial performance with the FP&A
          resources available at the time

 Based upon the information available today, it is Ducera's view that Shopko was most likely solvent at the time of the 2015
  Distribution. Notwithstanding the foregoing, given the concerns discussed above, Ducera does not recommend agreeing to a release
  absent a significant settlement contribution by Sun Capital




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Exhibits




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Financial Forecast Summary: Overview
  Ducera reviewed various forecasts for Shopko’s financial performance that were prepared at or around the time of the dividend
   distributions, including those identified below, among others

      Financial
                               Description                        Purpose                        Frequency                             Projection Period
      Forecasts
                        Forecasts reflect                 Monthly management             Provided monthly              Forecasts typically extended 2-4 years in the
       Shopko            projections provided by            reporting on recent                                            future
     Management          Shopko as part of its              results and future
       Reports           monthly management                 outlook
                         reporting process
                        Forecasts reflect internal        Quarterly portfolio            Provided quarterly, with      These forecasts typically extended 4-5 years
      Sun Capital        Sun Capital investment             investment update for           assistance from Shopko         in the future, however, there is varying
        Reports          valuation analysis                 mark-to-market fund             and Duff & Phelps              consistency in availability of projections
                                                            valuation
                        Forecasts reflect                 Board of Directors             As needed                     These forecasts typically extended 10 years in
     Duff & Phelps       projections utilized in the        solvency opinion for                                           the future
       Solvency          Duff & Phelps Solvency and         2013 and 2015                                                 Duff & Phelps utilized management’s near-
       Opinion           Capital Surplus Analysis for       Distributions                                                  term 2-3 year projections and extrapolated the
                         2013 and 2015                                                                                     remaining periods

                        Reflect projections utilized      Specific transactions          As needed                     These forecasts typically extended 2-3 years in
       Other 3 rd        by 3rd parties (investment         (i.e., refinancing, IPOs,                                      the future
        Parties          banks, consultants, etc.)          etc.)

                        Reflects other ad hoc             Varies (lender updates,        As needed                     These forecasts typically extended 1-2 years in
       Shopko –          projections prepared by            Duff & Phelps diligence,                                       the future
        Other            Shopko                             bank budget, etc.)

                        Reflects other ad hoc             Varies (exit                   As needed                     These forecasts typically extended 1-2 years in
     Sun Capital –       projections prepared by            consideration analysis,                                        the future
        Other            Sun Capital                        high level valuation,
                                                            etc.)




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Overview of 2015 Distribution Transaction: Sources & Uses
  The following table highlights the sources and uses of the 2015 Distribution transaction at closing
                                                                                                                         The 2015
     – Analysis assumes Shopko raises ~$54 million of new financing                                                      Distribution was
            $24 million is funded via incremental draws on the Revolving Loan A credit facility                         funded through
            $30 million is funded via incremental draws on the Term Loan B credit facility                              incremental debt of
                                                                                                                         ~$54 million
     – Proceeds from the financings are utilized to (i) fund the dividend distribution to Shopko’s ultimate equity
       holders and (ii) fund transaction expenses and fees



                                                Illustrative Transaction Sources & Uses
                     ($ in millions)
                                           Sources                                             Uses
                     Revolving Loan A Funding                    $24    2015 Distribution             $50
                     Term Loan B Funding                          30    Transaction Expenses             4


                     Total Sources                               $54    Total Uses                    $54




Notes:
Source: Management


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Overview of 2015 Distribution Transaction: Capital Structure
  The following table reflects the pro forma capital structure of Shopko following the 2015 Distribution
                                                                                                                                                                    Pro forma for the
($ in millions)                                                                                                                                                     2015 Distribution,
                                          Principal Outstanding                                                    Txn.                   Pro Forma
                                                                                                                                                                    Shopko had ~$560
                                                                                                                                                                    million of debt
Facility                              Amount           xEBITDA          Interest           Maturity            Adjustments       Amount            xEBITDA          outstanding,
Revolving Loan A                               $366                             L+1.75%          05/2020                  $24             $389                      reflecting leverage
Revolving Loan A-1                               30                           L+3.00%            05/2020                     -              30                      of 5.5x EBITDA
Term Loan B                                      43                             L+7.75%          05/2020                   30                73
Sale Leaseback Note Payable                       11                               9.29%         05/2026                     -               11
Bonds                                             6                                9.25%         03/2022                     -                6
Capital Leases                                   37                             12.65%           05/2022                     -               37
Balboa Capital Lease                              2                                7.00%         05/2018                     -                2
IGF Financing                                    12                                7.00%         06/2018                     -               12
Note Payable                                      0                                9.25%         03/2018                     -               0
Total Debt                                     $506              5.0x                                                     $54             $560               5.5x
Cash and Short Term Investments                 (25)                                                                         -              (25)
Total Net Debt                                 $481              4.7x                                                     $54             $535               5.3x

LTM Adjusted EBITDA                            $102                                  Key Capital Structure Metrics

                                                                                                Current                            Pro Forma
                                                       Total Debt Outstanding                         $506                                $560
                                                       Total Annualized Cash Interest                  $19                                 $22
                                                       Effective Blended Cash Interest                3.8%                                3.9%
                                                       Weighted Average Maturity                      5.1yrs                              5.1yrs




Notes:
Source: Management


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Overview of Historical and Projected Financial Performance
  The table below summarizes historical performance and projected financial performance included in the June 2015 Management
   Projections
                                                                                               Overview of Management Projections

($ in millions)                     2011A        2012A            2013A       2014A         LTM          2015F        2016F        2017F       2018F         2019F        2020F         2021F         2022F        2023F         2024F

Total Sales                       $2,730.2       $2,711.5        $2,660.6     $2,666.1     $2,678.7     $2,858.3     $3,066.5     $3,283.7     $3,497.1     $3,636.9      $3,764.2     $3,877.2      $3,993.5      $4,113.3     $4,236.7

Growth (%)                                  --        (0.7%)        (1.9%)       0.2%             --       7.2%         7.3%          7.1%        6.5%         4.0%          3.5%         3.0%          3.0%          3.0%         3.0%

Cost of Goods Sold                  (1,928.8)        (1,910.3)    (1,873.0)    (1,862.6)    (1,878.0)    (1,999.2)    (2,131.5)    (2,275.4)           --            --           --            --            --           --            --

Gross Profit                        $801.4           $801.2        $787.6      $803.5       $800.7       $859.1       $935.0      $1,008.3             --            --           --            --            --           --            --

GP Margin (%)                        29.4%           29.5%         29.6%        30.1%        29.9%        30.1%        30.5%        30.7%              --            --           --            --            --           --            --

SG&A                                  (716.6)         (709.9)       (713.9)     (698.6)       (699.1)     (739.0)       (799.1)      (859.1)           --            --           --            --            --           --            --

Adjusted EBITDA                       $84.8           $91.3         $73.7      $104.9       $101.6        $120.1       $135.9       $149.2      $159.8       $166.8         $173.1      $178.7        $184.5        $190.4       $196.6

Growth (%)                                  --         7.7%        (19.3%)      42.3%             --      14.5%         13.2%        9.8%         7.1%         4.4%          3.8%         3.2%          3.2%          3.2%         3.3%

Adj. EBITDA Margin (%)                 3.1%            3.4%         2.8%         3.9%         3.8%         4.2%         4.4%         4.5%         4.6%         4.6%          4.6%         4.6%          4.6%         4.6%          4.6%

Memo: Store Count

Hometown                                  10             176           181         167          188          217          247          277             --            --           --            --            --           --            --

Shopko                                   134             134          134           131          131          131          131          131            --            --           --            --            --           --            --

Express                                     5              5              5           5           5              5            5            5           --            --           --            --            --           --            --

Standalone Pharmacy                         -              17             6           4           4              4            4            4           --            --           --            --            --           --            --

Pamida                                   193                -             -           -            -             -            -            -           --            --           --            --            --           --            --

Total                                   342             332          326          307          328           357         387           417             --            --           --            --            --           --            --

Memo: Other Key Financials

Capital Expenditures                   $46.3           $71.6        $33.5        $32.5        $39.0        $68.5        $75.0        $75.0        $35.0        $36.4         $37.6        $38.8         $39.9         $41.1        $42.4

% of Sales                             1.7%            2.6%          1.3%         1.2%         1.5%        2.4%         2.4%         2.3%         1.0%         1.0%          1.0%         1.0%          1.0%          1.0%         1.0%

Net Working Capital                    265.7           275.9        278.8        272.8        270.7        283.4        302.6        323.4             --            --           --            --            --           --            --

% of Sales                             9.7%           10.2%         10.5%       10.2%         10.1%        9.9%         9.9%         9.8%              --            --           --            --            --           --            --

Change in NWC                               --          10.2           2.9         (6.0)        (2.1)        12.6         19.3        20.7         21.0         13.8          12.5          11.1          11.5          11.8        12.2

Source: Management and Duff & Phelps 2015 Analysis

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June 2015 Valuation Summary
                                                        Total Enterprise Value (TEV)                                            Shopko’s enterprise
($ in millions)
                                                                                                                                value is reasonably
                                                              TEV Range:
                                                           $650 to $750 million
                                                                                                                                estimated in the
                        TEV &
Case
                        EV/EBITDA Multiple
                                                            Mid-Point Value:                                                    range of $650
                                                              $700 million                                                      million to $750
                        TEV:$661-781 million
                                                                                                                                million as of the
2015 Public Companies                                                                                                           June 2015
Approach                                                              $661                  $781
                        x15E EBITDA: 5.5x-6.5x                                                                                  Distribution


                        TEV:$680-815 million
2016 Public Companies
                                                                         $680                      $815
Approach
                        x16E EBITDA: 5.0x-6.0x




                        TEV:$639-757 million
Discounted Cash Flow                                              $639                   $757
Approach
                        x15E EBITDA: 5.3x-6.3x


                                                 $500         $600                $700      $800          $900         $1,000




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June 2015 Equity Value / Capital Surplus Analysis
                                                           Illustrative TEV Waterfall
                                                                                                                                                                                                                      Shopko’s equity
($ in millions)                                                                                            Concluded Value
                                                                                                                                                                                                                      value is reasonably
                                                                                          Low                      Mid                     High                                                                       estimated in the
Total Enterprise Value                                                                          $650                     $700                     $750                                                                range of $123
  Memo: 2015E EBITDA Multiple                                                                    5.4x                      5.8x                    6.2x                                                               million to $223
  Memo: 2016E EBITDA Multiple                                                                    4.8x                      5.2x                     5.5x                                                              million as of the
Assets:                                                                                                                                                                                                               June 2015
  Cash                                                                                               25                      25                       25                                                              Distribution
  Tax Assets (1)                                                                                     14                       14                       14
Total Assets                                                                                    $689                      $739                    $789

Liabilities

  Debt Outstanding                                                                               $560                     $560                     $560
                                                   (2)
  Tax Effected Store Lease Liability                                                                  6                        6                        6
                                            (2)
  Contingent & Other Liabilities                                                                       -                        -                        -
Total Liabilities                                                                               $566                     $566                     $566

Implied Equity Value - OpCo                                                                      $123                     $173                     $223
  Net Assets / Liabilities - Intermediate Holdings                                                     -                        -                        -
  Net Assets / Liabilities - Parent                                                                    -                        -                        -
  Net Assets / Liabilities - Ultimate Parent                                                           -                        -                        -
Implied Equity Value - Ultimate                   Parent(3)                                      $123                     $173                     $223




Notes:
(1)   Per management analysis of present value of net operating loss (“NOL”) tax shield
(2)   Per management
(3)   Based on Ducera’s understanding of Shopko’s legal entity structure, Intermediate Holdings, Parent, and Ultimate Parent are simply holding entities and do not hold any assets or liabilities outside of their
      subsidiary equity ownership
Source: Shopko management projections

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June 2015 Public Companies Analysis
                                     Public Companies Multiples Analysis                                    Shopko’s value is
($ in millions)
                                                                                                            reasonably
                                                                                                            estimated in the
                      Financial                         Selected
                                                                                       TEV Range            range of $670
                       Metric                            Range
                       Shopko                                                                               million to $798
Case                                           Low                 High        Low                  High
                       EBITDA                                                                               million as of the
2015 EBITDA             $120.1                 5.5x                6.5x       $660.6               $780.7   June 2015
                                                                                                            Distribution based
2016 EBITDA             135.9                  5.0x                6.0x       679.5                815.4    upon a comparable
                                                                                                            public companies
                                                                                                            analysis
                                                            Concluded TEV     $670.0               $798.0




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June 2015 Public Companies Overview
                                                                                  Illustrative Public Companies Information
($ in millions)                                      TEV           Equity           EV / EBITDA               Revenue Growth              EBITDA Margin              EBITDA Growth Rate          Capex % Sales
Illustrative Peer Group                           06/19/15         06/19/15    FY15E    FY16E    FY17E     FY15E    FY16E    FY17E     FY15E    FY16E    FY17E      FY15E     FY16E    FY17E     FY16E    FY17E
Illustrative Focused Regional / Local Retail Group
Bon-Ton Stores, Inc.                                  $1,060            $114     6.9x     6.5x     N/A       1.6%     1.7%        --    5.4%     5.6%         --     5.6%      6.7%         --    2.5%           --
Stage Stores, Inc.                                          $682        $611     5.0x     4.8x     N/A      0.4%     1.4%         --    8.3%     8.5%         --     6.8%      4.3%         --    4.3%           --
Stein Mart, Inc.                                            $661       $525      7.8x     6.7x     N/A      6.2%     6.5%         --    6.0%     6.7%         --     12.1%     17.5%        --       --          --
Citi Trends, Inc.                                           $313       $420      7.4x     6.5x     N/A      4.7%     5.8%         --    6.0%     6.5%         --     27.3%    15.0%         --    2.2%           --
Illustrative Dollar / Discount Store Retail Group
Dollar General Corporation                           $25,954        $23,464     11.2x    10.2x     9.4x     8.4%     9.1%     8.8%      11.3%    11.4%    11.4%      9.0%      9.9%     8.9%      2.5%     2.5%
Dollar Tree, Inc.                                    $16,244         $16,539    11.6x    10.5x     9.7x    27.6%     21.1%    (4.8%)    12.7%    11.7%    13.2%      9.5%      11.0%    8.0%      3.4%     3.4%
Family Dollar Stores, Inc.                            $9,334          $9,102    12.4x    11.4x    10.0x     3.2%     4.5%     6.5%      7.0%     7.2%     7.8%       (4.0%)    8.5%    14.4%      4.0%     3.5%
Illustrative Diversified / National Retail Group
Walmart Inc.                                       $282,532        $236,644      8.0x     7.7x     7.4x     0.6%     3.1%     2.8%      7.3%     7.3%     7.4%       (2.3%)    3.2%     4.2%      2.5%     2.5%
Target Corporation                                   $65,462        $55,464      9.0x     8.6x     8.4x     2.4%     1.8%     2.2%      9.8%    10.0%     10.1%      16.0%     3.6%     2.9%      3.0%     3.0%
Illustrative General Retail Group
TJX Companies Inc                                   $44,509         $45,474     10.3x     9.6x     8.8x     5.0%     6.9%     8.6%      14.1%   14.2%    14.3%       3.5%      7.7%     9.5%      3.0%     2.9%
Macy's Inc                                           $30,018         $24,191     7.6x     7.3x     7.1x     0.9%     1.9%     2.6%     14.0%     14.1%   14.2%       3.5%      3.1%     3.0%      3.9%     3.9%
Ross Stores, Inc.                                    $20,733         $21,119    10.9x    10.2x     9.2x     7.4%     6.6%     8.7%     16.0%     16.1%    16.5%      10.3%     6.9%     11.3%     3.6%     3.4%
Kohl's Corporation                                   $16,652         $13,101     6.2x     6.1x     6.1x      1.9%    2.0%     1.0%      13.8%    13.9%    13.7%      3.8%      2.7%     (0.3%)    3.8%     3.6%
J. C. Penney Company, Inc.                             $7,010        $2,649     11.4x     8.5x     6.6x     2.6%     3.2%     2.6%      4.9%     6.4%     8.0%      95.4%     33.8%    28.5%      2.3%     2.4%
Big Lots, Inc.                                        $2,503         $2,530      6.8x     6.3x     5.8x     0.5%     1.2%     1.0%      7.0%     7.5%     8.2%       5.4%      8.4%     9.3%      2.2%     1.9%
Illustrative Drug Store / Pharmacy Group
CVS Health Corporation                             $132,084         $120,951    11.4x    10.3x     9.4x     8.0%     7.9%      9.1%      7.7%    7.9%     7.9%       8.2%     10.6%     9.8%      1.3%     1.2%
Walgreens Boots Alliance Inc                        $108,885        $96,805     15.3x    12.3x     11.1x   37.8%     17.2%    4.8%      6.8%     7.2%     7.6%       39.7%    24.3%     10.7%     1.5%     1.6%
Rite Aid Corporation                                 $14,505          $9,192    10.2x     9.2x     8.4x     16.6%    9.1%     4.7%      4.6%     4.7%     4.9%       10.1%    10.3%    10.0%      1.8%     1.8%
Fred's, Inc. Class A                                    $806           $732     10.1x     8.4x     N/A     13.0%     6.8%         --    3.6%     4.0%         --         --   20.5%         --    1.6%           --

Shopko                                                                                                      7.2%     7.3%     7.1%      4.2%     4.4%     4.5%      14.5%     13.2%     9.8%      2.4%     2.3%
75th Percentile                                      $37,263        $34,832     11.3x    10.2x     9.4x     8.2%     7.4%      8.1%    12.0%     11.5%    13.6%      11.7%    13.0%    10.5%      3.6%     3.4%
Median                                               $16,244         $13,101    10.1x     8.5x     8.6x     4.7%     5.8%     3.8%      7.3%     7.5%      9.1%      8.6%      8.5%     9.4%      2.5%     2.7%
Average                                              $41,050         $35,770     9.4x     8.5x     8.4x     7.8%     6.2%     4.2%      8.8%     9.0%    10.4%       14.4%    10.9%     9.3%      2.8%     2.7%
25th Percentile                                        $1,782         $1,631     7.5x     6.6x     7.2x      1.8%    2.0%     2.3%      6.0%     6.6%     7.8%       4.2%      5.5%     5.2%      2.2%     2.0%



Notes:
Source: FactSet research as of 6/19/15 and public filings


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June 2015 Public Companies Overview (Continued)
                                                                                                                                                                                                                                 Total SF
Company                   Description                                                                       End Markets                                                          Products                      Stores   States
                                                                                                                                                                                                                                 (000's)

                                                                                                                                                          Women's Apparel              Men's Apparel                             Total:
                          The Bon-Ton Stores, Inc. owns and operates retail department stores. The Bon- Brand-name fashion apparel and accessories
Bon-Ton Stores, Inc.                                                                                                                                      Home                         Accessories              270      26      25,000
                          Ton Stores was founded in 1898 and is headquartered in York, PA.              for women, men and children
                                                                                                                                                          Cosmetics                                                              Avg: 92.6

                                                                                                                                                          Apparel                      Footwear                                  Total:
                          Stage Stores, Inc. engages in the management of retail shops and department Specialty department stores primarily in
Stage Stores, Inc.                                                                                                                                        Accessories                  Home Goods               854      40      15,409
                          stores. Stage Stores was founded in 1988 and is headquartered in Houston, TX. small and mid-sized towns and communities
                                                                                                                                                          Cosmetics                                                              Avg: 18.0

                          Stein Mart is a national retailer offering the fashion merchandise, service and                                                 Ladies’ and Boutique Apparel Home
                                                                                                            35-65 year old woman who is both style                                                                               Prototype:
Stein Mart, Inc.          presentation of a better department or specialty store. The company was                                                         Ladies’ Accessories          Shoes                    270      30
                                                                                                            conscious and value seeking                                                                                          32.0
                          founded by Sam Stein in 1908 and is headquartered in Jacksonville, FL.                                                          Men's                        Other

                          Citi Trends, Inc. engages in the retail of urban fashion apparel, shoes,                                                        Accessories                  Men's                                     Total:
                                                                                                            Urban fashion apparel and accessories for the
Citi Trends, Inc.         accessories, and home decor. The company was founded in 1946 and is                                                             Children's                   Home                     511      29      5,500
                                                                                                            entire family
                          headquartered in Savannah, GA.                                                                                                  Ladies'                                                                Avg: 10.8

                          Dollar General Corp. engages in retailing of merchandise, including
                                                                                                                                                          Consumables                  Apparel                                   Total:
Dollar General            consumables, seasonal, home products and apparel. The company was                 Broad merchandise, including consumables,
                                                                                                                                                          Seasonal                                             11,879    43      87,904
Corporation               founded by J. L. Turner and Hurley Calister Turner Sr. in 1939 and is             seasonal, home products and apparel
                                                                                                                                                          Home Products                                                          Avg: 7.4
                          headquartered in Goodlettsville, TN.

                          Dollar Tree, Inc. owns and operates discount variety stores offering                                                            Consumable                                                             Total:
Dollar Tree, Inc.         merchandise at the fixed prices. Dollar Tree was founded by J. Douglas Perry      Value merchandise                             Variety Categories                                   5,367     48      46,500
                          and Macon F. Brock, Jr. in 1986 and is headquartered in Chesapeake, VA.                                                         Seasonal                                                               Avg: 8.6

                          Family Dollar Stores, Inc. operates general merchandise retail discount stores.                                                 Consumables                  Seasonal                                  Total:
Family Dollar Stores,
                          The company was founded by Leon Levine in November 1959 and is                  Value merchandise                               Home Products                Electronics             8,042     46      58,100
Inc.
                          headquartered in Matthews, NC.                                                                                                  Apparel and Accessories                                                Avg: 7.2

                          Walmart, Inc. engages in retail and wholesale business. The company was                                                         Grocery                      Hardlines                                 Total:
Walmart Inc.              founded by Samuel Moore Walton and James Lawrence Walton on July 2, 1962 Value and low price customers                          Health and Wellness          Apparel                 11,767    50      1,134,252
                          and is headquartered in Bentonville, AR.                                                                                        Entertainment                Home                                      Avg: 96.4

                                                                                                                                                                                                                                 Total:
                          Target Corp. engages in owning and operating of general merchandise stores.       Everyday essentials and fashionable,          Household Essentials         Food and Pet Supplies
                                                                                                                                                                                                                                 239,963
Target Corporation        The company was founded by George Draper Dayton in 1902 and is                    differentiated merchandise at discounted      Hardlines                    Home Furnishing         1,790     50
                                                                                                                                                                                                                                 Avg:
                          headquartered in Minneapolis, MN.                                                 prices                                        Apparel and Accessories      Décor
                                                                                                                                                                                                                                 134.05

                          The TJX Cos., Inc. engages in the retail of off-price apparel and home fashion                                                  Family Apparel                                                         Total:
TJX Companies Inc         products. The company was founded by Stanley Harris Feldberg and Sumner           Off price retail                              Home Fashions                                        3,215      51     92,467
                          L. Feldberg in 1956 and is headquartered in Framingham, MA.                                                                     General Merchandise                                                    Avg: 28.7

                          Macy's, Inc. engages in the retail of apparel, accessories, cosmetics, home
                                                                                                                                                          Feminine Accessories         Feminine Apparel                          Total:
                          furnishings, and other consumer goods. The company was founded by                 Focused on women’s
Macy's Inc                                                                                                                                                Intimate Apparel             Men’s and Children’s     823      45      147,400
                          Rowland Hussey Macy Sr. on March 6, 1929 and is headquartered in                  accessories and a wide range of merchandise
                                                                                                                                                          Shoes and Cosmetics                                                    Avg: 179.1
                          Cincinnati, OH.
                                                                                                                                                          Name brand and Designer
                          Ross Stores, Inc. engages in the operation of off-price retail apparel and home                                                                              Home Fashions                             Total:
                                                                                                                                                          Apparel
Ross Stores, Inc.         accessories stores. The company was founded by Stuart G. Moldaw in 1957 and Off price retail                                                                                         1,210      33     30,400
                                                                                                                                                          Accessories
                          is headquartered in Dublin, CA.                                                                                                                                                                        Avg: 25.1
                                                                                                                                                          Footwear




Notes:
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June 2015 Public Companies Overview (Continued)
                                                                                                                                                                                                                                      Total SF
Company                   Description                                                                       End Markets                                                           Products                          Stores   States
                                                                                                                                                                                                                                      (000's)
                          Kohl's Corp. owns and operates family-oriented department stores. It offers
                                                                                                            Moderately-priced private label, exclusive   Women's                        Children's                                    Total:
                          exclusive brand apparel, shoes, accessories and home & beauty products
Kohl's Corporation                                                                                          and national brand apparel, footwear,        Men's                                                      1,162     49      83,800
                          through its department stores. The company was founded in 1962 and is
                                                                                                            accessories, beauty and home products        Home                                                                         Avg: 72.1
                          headquartered in Menomonee Falls, WI.
                          J. C. Penney Co., Inc. is a holding company, which engages in the business of
                                                                                                                                                         Women's Apparel                Women's Accessories                           Total:
J. C. Penney              selling merchandise and services to consumers through its department stores       Fashion apparel, cosmetics and home
                                                                                                                                                         Men's Apparel                                              1,062     49      107,900
Company, Inc.             and website. The company was founded by James Cash Penney in April 1902           furnishing
                                                                                                                                                         Home                                                                         Avg: 101.6
                          and is headquartered in Plano, TX.

                                                                                                                                                         Food                           Furniture & Home Décor                        Total:
                          Big Lots, Inc. is a community oriented discount retailer. The company was
Big Lots, Inc.                                                                                              Discount retailing                           Consumables                    Seasonal                    1,460     48      32,006
                          founded by Sol A. Shenk in 1967 and is headquartered in Columbus, OH.
                                                                                                                                                         Soft and Hard Home             Electronics & Accessories                     Avg: 21.9

                          CVS Health Corp. engages in the provision of health care services. The                                                         Prescription Drugs             General Merchandising                         Total:
CVS Health
                          company was founded by Stanley P. Goldstein and Ralph Hoagland in 1963            Retail pharmacies and general merchandise    OTC & Personal Care                                        7,822     49      76,700
Corporation
                          and is headquartered in Woonsocket, RI.                                                                                        Beauty/Cosmetics                                                             Avg: 9.8

                                                                                                                                                                                                                                      Total:
Walgreens Boots           Walgreens Boots Alliance, Inc. engages in the provision of drug store services.                                                Pharmacy
                                                                                                            Retail pharmacies and general merchandise                                                               12,755    50      111,000
Alliance Inc              The company was founded in 1901 and is headquartered in Deerfield, IL.                                                         Retail
                                                                                                                                                                                                                                      Avg: 8.7

                          Rite Aid Corp. engages in owning and managing retail drug stores and                                                           Prescription Drugs             General Merchandise                           Total:
Rite Aid Corporation      pharmacy services for insurance companies. The company was founded by             Retail pharmacies and general merchandise    OTC and Personal Care                                      4,570      31     57,582
                          Alex Grass in September 1962 and is headquartered in Camp Hill, PA.                                                            Health and Beauty Aids                                                       Avg: 12.6

                          Fred's, Inc. engages in the retail sale of general merchandise and                                                             Pharmacy                       Softlines                                     Total:
Fred's, Inc. Class A      pharmaceuticals. The company was founded in 1947 and is headquartered in          Pharmacy and general merchandise             Consumables                                                 641       15     76,700
                          Memphis, TN.                                                                                                                   Household Goods                                                              Avg: 14.7




Notes:
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June 2015 Precedent Transactions Analysis
  Ducera has reviewed select precedent transactions leading up to the 2015 Distribution
                                                                                                                        Ducera has
     – The transactions reviewed are identified on the following page                                                   determined that a
                                                                                                                        precedent
  Ducera believes that none of the precedent transactions are sufficiently comparable and timely to form a basis for
   valuation
                                                                                                                        transaction
                                                                                                                        approach is not
  As a result, Ducera has not included the precedent transaction analysis methodology when evaluating Shopko           appropriate for a
                                                                                                                        valuation of
                                                                                                                        Shopko as of the
                                                                                                                        June 2015
                                                                                                                        Distribution




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June 2015 Precedent Transactions Overview
                                                     Illustrative Select Historical Transactions Information through 2015
($ in millions)

Date Announced             Target                                           Acquirer                                                           Enterprise Value   xLTM EBITDA
05/18/15                   ANN, Inc.                                        Ascena Retail Group, Inc.                                                   $1,954            7.9x
03/31/15                   The J. Jill Group, Inc.                          TowerBrook Capital Partners LP                                                 400           N.A.
07/28/14                   Family Dollar Stores, Inc.                       Dollar Tree, Inc.                                                            9,092            11.1x
04/15/14                   totes ISOTONER Corp.                             Freeman Spogli Management Co. LP; Sipco Ltd; Investcorp Bank BSC               525           N.A.
09/09/13                   The Neiman Marcus Group, Inc.                    Ares Management LLC; Canada Pension Plan Investment Board                    6,000            9.6x
07/29/13                   Saks Incorporated                                Hudson's Bay Company                                                         2,699           10.2x
05/23/13                   rue21, Inc.                                      Apax Partners LLP                                                              932            9.2x
05/10/13                   True Religion Apparel, Inc.                      TowerBrook Capital Partners LP                                                 630            8.0x
03/07/13                   Hot Topic Inc.                                   Sycamore Partners                                                              548            8.8x
08/23/12                   David's Bridal, Inc.                             Clayton Dubilier & Rice LLC                                                  1,050           N.A.
08/03/12                   The Talbots, Inc.                                Sycamore Partners Management LLC                                               369           Neg.
06/07/12                   Savers, Inc.                                     TPG Capital LLC; Leonard Green & Partners LP                                  1,720          N.A.
05/09/12                   Cost Plus, Inc.                                  Bed Bath & Beyond, Inc.                                                        605           11.8x
05/02/12                   Charming Shoppes Inc.                            Ascena Retail Group Inc.                                                       829           10.2x
05/01/12                   Collective Brands, Inc. (nka:Payless Inc.)       Blum Capital; Wolverine World Wide Inc.; Golden Gate Capital                  1,751           8.6x
10/11/11                   99 Cents only Stores LLC                         Ares Management LLC; Canada Pension Plan Investment Board                     1,341           9.1x
06/29/11                   BJ's Wholesale Club Inc.                         CVC Capital Partners Limited; Leonard Green & Partners                       2,646            7.0x
12/23/10                   Jo-Ann Stores LLC                                Leonard Green & Partners LP                                                  1,603            7.6x
10/11/10                   The Gymboree Corp.                               Bain Capital LLC                                                              1,658           7.7x


Min                                                                                                                                                      $369            7.0x
Mean                                                                                                                                                    $1,913            9.1x
Median                                                                                                                                                  $1,341           9.0x
Max                                                                                                                                                    $9,092            11.8x




Notes:
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June 2015 Discounted Cash Flow Analysis
  Shopko’s discounted cash flow analysis value is reasonably estimated in the range of $639 million to $757 million as of the June
   2015 Distribution
                                                                                  Illustrative Discounted Cash Flow Analysis
($ in millions)                                                                                                                           Overview
 Fiscal Year                                                            2015F          2016F      2017F       2018F        2019F       2020F    2021F             2022F           2023F          2024F        Terminal     CAGR
 Calendar Year End                                                      Jan'16         Jan'17     Jan'18      Jan'19       Jan'20      Jan'21       Jan'22        Jan'23         Jan'24          Jan'25         Jul'25     FY15-24
Revenue                                                                 $2,858.3       $3,066.5   $3,283.7    $3,497.1     $3,636.9    $3,764.2     $3,877.2      $3,993.5        $4,113.3       $4,236.7                     4.5%
 % Growth                                                                      --         7.3%       7.1%        6.5%         4.0%        3.5%         3.0%          3.0%           3.0%            3.0%
Adjusted EBITDA                                                           $118.3 (1)    $135.9     $149.2      $159.8       $166.8       $173.1        $178.7      $184.5         $190.4          $196.6        $196.6       5.8%
Less: D&A                                                                   (33.5)       (42.0)      (45.0)       (51.1)      (47.8)      (45.5)         (43.9)      (42.8)         (42.2)           (41.1)
EBIT                                                                         84.8          93.9     104.2        108.7        119.0       127.6         134.8         141.7         148.2           155.5                     7.0%
 % Margin                                                                  3.0%           3.1%       3.2%        3.1%         3.3%        3.4%           3.5%        3.5%           3.6%            3.7%
Tax Rate                                                                  39.7%       39.7%        39.7%       39.7%        39.7%        39.7%         39.7%         39.7%         39.7%           39.7%
Less: Cash Taxes                                                            (33.7)      (37.3)      (41.4)      (43.2)        (47.2)      (50.7)        (53.5)        (56.3)        (58.8)           (61.7)
Tax Effected EBIT                                                             51.1       56.6        62.8         65.5          71.8        76.9         81.3          85.4          89.4             93.8                    7.0%
Plus: D&A                                                                    33.5       42.0         45.0          51.1        47.8        45.5          43.9          42.8          42.2             41.1
Less: Capital Expenditures                                                 (58.4)(2)   (75.0)       (75.0)      (35.0)       (36.4)        (37.6)       (38.8)        (39.9)         (41.1)         (42.4)
Plus/(Less): Change in Working Capital                                      (12.6)      (19.3)      (20.7)       (21.0)       (13.8)       (12.5)        (11.1)        (11.5)        (11.8)          (12.2)
Adj. Unlevered Free Cash Flow                                                13.6         4.3         12.1       60.6          69.4         72.3         75.3          76.8           78.7           80.3                    21.8%
 % Growth                                                                       --   (68.3%)      180.7%      399.9%        14.4%         4.3%          4.1%          2.1%          2.4%            2.0%
Terminal Multiple (Illustrated at 6.0x)                                                                                                                                                                             6.0x
Terminal Value                                                                                                                                                                                                   1,179.6
Total Undiscounted Cash Flow                                                  $13.6       $4.3      $12.1      $60.6         $69.4        $72.3         $75.3        $76.8             $78.7       $80.3       $1,179.6
Discount Period                                                             0.38           1.25       2.25        3.25         4.25        5.25          6.25           7.25         8.25            9.25           9.75
Discount Rate (Illustrated at 11.5% WACC)                                  11.5%         11.5%       11.5%       11.5%        11.5%       11.5%         11.5%         11.5%         11.5%           11.5%         11.5%
Discount Factor                                                           96.0%          87.3%      78.3%       70.2%        63.0%       56.5%         50.6%         45.4%         40.7%           36.5%         34.6%
Present Value of Cash Flows                                                $13.1          $3.8        $9.5      $42.6        $43.7       $40.9         $38.1         $34.9         $32.0           $29.3        $408.1
Ill. TEV (Assuming 6.0x EBITDA & 11.5% WACC)                            $696.0
Ill. TEV Multiples                                                     Multiple        EBITDA
2015E EBITDA                                                               5.8x          $120.1
2016E EBITDA                                                               5.1x          $135.9                                                        Illustrative Enterprise Value Sensitivity Analysis

                                                                                                                                                                                       EBITDA Multiple
                                                                                                                                              69599.1%       5.50x             5.75x           6.00x          6.25x        6.50x
                                                                                                                                              11.00%        $686.0         $703.8              $721.6         $739.3       $757.1
                                                                                                                                              11.25%        $673.9         $691.2              $708.6         $726.0       $743.4
                                                                                                                                       WACC




                                                                                                                                              11.50%        $662.0         $679.0              $696.0         $713.0       $730.0
Notes:
(1)   Reflects management’s forecasted EBITDA for stub period                                                                                 11.75%        $650.3         $667.0              $683.6         $700.3       $716.9
(2)   Reflects management’s forecasted capital expenditures for stub period
Source: Shopko management projections                                                                                                         12.00%        $639.0         $655.2              $671.5         $687.8       $704.1

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June 2015 WACC
  The following table summarizes the guideline public companies referenced to calculate the weighted average cost of capital

                                                                                       Illustrative Guideline Public Companies
($ in millions)
                                                                                           Total           Debt to       Equity to    Debt to       Tax        Levered        Unlevered      Relevered
Company                                              Debt               Equity            Capital          Capital        Capital     Equity        Rate      Equity Beta     Equity Beta    Equity Beta
Bon-Ton Stores, Inc.                                     $955.3               $113.8         $1,069.2          89.4%          10.6%         8.4x      35.0%           1.17x          0.18x
Stage Stores, Inc.                                          96.2               610.6             706.7         13.6%         86.4%          0.2x      37.6%          0.74x           0.67x
Stein Mart, Inc.                                          152.4               525.5              677.9         22.5%          77.5%         0.3x      39.5%          0.77x           0.65x
Citi Trends, Inc.                                               -             420.2              420.2               -      100.0%              -     19.3%          1.05x           1.05x
Dollar General Corporation                              2,715.3           23,463.9           26,179.3          10.4%          89.6%         0.1x      36.6%          0.75x           0.70x
Dollar Tree, Inc.                                        7,819.7           16,538.8         24,358.5           32.1%          67.9%         0.5x      37.2%          0.82x           0.63x
Family Dollar Stores, Inc.                                484.3             9,102.0          9,586.4            5.1%          94.9%         0.1x      32.7%          0.11x           0.11x
Walmart Inc.                                          50,231.0          236,644.4          286,875.4           17.5%          82.5%         0.2x      32.2%          0.68x           0.59x
Target Corporation                                     12,766.0           55,463.9          68,229.9           18.7%          81.3%         0.2x      33.0%          0.72x           0.63x
TJX Companies Inc                                       1,623.9           45,473.6          47,097.5            3.4%          96.6%         0.0x      37.6%          0.79x           0.78x
Macy's Inc                                              7,336.0            24,190.7          31,526.7          23.3%          76.7%         0.3x      36.2%          0.81x           0.68x
Ross Stores, Inc.                                         395.7             21,119.3         21,515.0           1.8%          98.2%         0.0x      38.0%          0.77x           0.76x
Kohl's Corporation                                     4,746.0              13,101.2         17,847.2          26.6%          73.4%         0.4x      35.7%          0.64x           0.52x
J. C. Penney Company, Inc.                             5,405.0              2,648.6          8,053.6           67.1%          32.9%         2.0x      35.0%          0.97x           0.42x
Big Lots, Inc.                                             40.5             2,529.7           2,570.2           1.6%          98.4%         0.0x      38.4%          0.88x           0.88x
CVS Health Corporation                                 12,762.0          120,950.8          133,712.8           9.5%          90.5%         0.1x      39.5%          0.64x           0.60x
Walgreens Boots Alliance Inc                          16,247.0            96,804.6          113,051.6          14.4%          85.6%         0.2x      35.7%          0.84x           0.76x
Rite Aid Corporation                                    7,234.9             9,192.4          16,427.3         44.0%           56.0%         0.8x      35.0%           1.17x          0.77x
Fred's, Inc. Class A                                        81.0               732.1               813.1       10.0%         90.0%          0.1x      40.9%          0.90x           0.85x


                                                                                       Average                 21.6%          78.4%                   35.5%          0.80x           0.64x      0.74x
                                                                                       Median                  14.4%          85.6%                   36.2%          0.79x           0.67x      0.77x
                                                                                        Selected              20.0%         80.0%           0.3x      39.7%                                     0.75x




Notes:
Source: FactSet research, Company filings, Barra Beta, and other public research

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June 2015 WACC (Continued)
  The following table summarizes the illustrative weighted average cost of capital for Shopko
                                                                                                                                                                                             Shopko’s weighted
                                                                                                                                                                                             average cost of
                                                                   Illustrative Weighted Average Cost of Capital                                                                             capital
($ in millions)                                                                                                                                                                              incorporates a 20
                                                                                                                                                                                             year risk free rate,
Description                                                          Amount            Notes
                                                                                                                                                                                             expected market
Risk-Free Rate                                                         2.6%            20-year U.S. Treasury Yield. Source: U.S. Treasury                                                    risk premiums,
Equity Risk Premium                                                    7.0%            Expected Equity Risk Premium. Source: Duff & Phelps' 2014 Valuation Handbook                          and a market
Relevered Equity Beta                                                  0.75x           Based on the selected guideline public company relevered equity beta                                  capitalization size
Cost of Equity Capital                                                 7.9%                                                                                                                  premium
Unsystematic Risk Factors:

  Size Premium                                                         5.8%            Market capitalization size premium. Source: Duff & Phelps' Cost of Capital Navigator                  The analysis
Cost of Equity Capital                                                13.6%                                                                                                                  illustratively
                                                                                                                                                                                             assumes a capital
Tax Rate                                                              39.7%            Based on the effective federal and state tax rate
                                                                                                                                                                                             structure of 20/80
Illustrative Pre-Tax Cost of Debt                                      4.5%            Cost of debt illustratively reflects observed public companies interest effective interest rates
                                                                                                                                                                                             debt to equity ratio
Debt to Capital Ratio                                                 20.0%            Based on the selected guideline public company Debt to Capital Ratio

Equity to Capital Ratio                                               80.0%            Based on the selected guideline public company Equity to Capital Ratio

Weighted Average Cost of Capital                                      11.4%




Notes:
Source: U.S. treasury rates, FactSet research, Barra Beta, and other public research

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June 2015 Adequacy Analysis: Overview of Methodology & Analysis
            :                                                      Assumptions                                                        Ducera analyzed
                    The following pages include a capital adequacy analysis based upon the Company’s near-term cash flow
                                                                                                                                      Shopko’s
                     forecast and capital structure assumptions as of June 2015                                                       anticipated ability
                    The analysis evaluates the Company’s ability to (i) fund its operating cash usage, if applicable, (ii) service   to service and
                     its ongoing debt obligations including cash interest, and (iii) reasonably refinance the Company’s debt
                                                                                                                                      refinance its debt
                     facilities at maturity
     Overview       The analysis evaluates the Company’s forecast credit profile at the time of a maturity in order to assess the    following the 2015
                     Company’s ability to refinance its debt. Considerations include but are not limited to the following             Distribution
                     financial metrics:
                      – Net Debt / TTM Adjusted EBITDA
                      – Adjusted EBITDA / Cash Interest, Net
                      – Fixed Charge Coverage Ratio
      Financial     The analysis is based upon the June 2015 Management Projections through the date of a required
     Projections     refinancing
                    The analysis is based upon the capital structure pro forma for the 2015 Distribution (i.e., ~$560 million of
      Capital        total debt at the start of the forecast)
     Structure      The analysis assumes Shopko’s debt is paid down over time as the Company generates cash in excess of its
                     operating and financial cash flow requirements
                    The analysis also includes a sensitivity case prepared at the time of the June 2015 Management
                     Projections
                    The sensitivity case represents a reasonable potential downside case relative to the June 2015
     Sensitivity     Management Projections for the Company’s financial performance
      Analysis      The sensitivity case assumes, among other items:
                      – Reductions in revenue growth rates
                      – Reduction in gross profit margin rates
                      – Reduction in EBITDA margin rates




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June 2015 Adequacy Analysis: Base Case Analysis Overview
                                                                          Illustrative Cash Flow Adequacy Analysis
                                                                                                                                                                                           Illustrated herein
         ($ in millions)                                                                     LTM             2015F        2016F        2017F         2018F       2019F        2020F        is a forecast of
         Revenue                                                                            $2,678.7        $2,858.3      $3,066.5     $3,283.7      $3,497.1    $3,636.9     $3,764.2     Shopko’s cash flow
          % Growth                                                                                 --          6.7%          7.3%         7.1%          6.5%        4.0%         3.5%      forecast through
         Adjusted EBITDA                                                                     $101.6          $108.4        $135.9       $149.2       $159.8       $166.8       $173.1      2020 and the
         Less: Taxes                                                                                                 -            -        (11.4)       (31.6)      (36.3)       (40.5)    associated debt
         Less: Other Expense and Management Fees                                                                 (3.8)        (4.0)         (4.0)        (4.0)        (4.0)        (4.0)
                                                                                                                                                                                           paydown and pro
         Less: Net Working Capital                                                                              (12.6)       (19.3)       (20.7)       (21.0)        (13.8)       (12.5)
         Less: Closed Store Lease Liability                                                                      (3.4)        (4.5)          (1.2)          -            -            -    forma leverage
         Less: Capital Expenditures                                                                            (58.4)        (75.0)       (75.0)       (35.0)       (36.4)        (37.6)   levels
         Adj. Unlevered Free Cash Flow                                                                        $30.2         $33.1        $36.9        $68.2        $76.3        $78.5
         Interest Income                                                                                           0.1          0.1           0.1         0.1          0.1          0.1
         Cash Interest Expense                                                                                  (13.2)       (22.5)       (24.9)        (25.1)      (23.5)        (21.8)
         Mandatory Amortization                                                                                   (8.7)        (8.7)        (4.8)        (4.8)        (4.8)        (4.8)
         Levered Cash Flow                                                                                      $8.4         $2.0          $7.3       $38.4        $48.1       $52.0
         Revolver Draw/(Repayment)                                                                              (10.7)        (2.0)          (7.3)      (23.7)       (48.1)      (52.0)
         Optional Debt Repayment                                                                                     -            -             -           -            -            -
         Repayment of Debt at Maturity                                                                               -            -             -       (14.7)           -      (311.3)
         Debt Refinancing                                                                                            -            -             -           -            -        311.3
         Net Cash Flow                                                                                         ($2.3)           $-            $-          $-           $-           $-
                                                                                         Pro Forma
         Total Debt                                                                         $560.0            $540.6       $529.9        $517.8       $474.6       $421.7      $364.9
         Total Cash                                                                           25.4               23.1        23.1          23.1         23.1         23.1        23.1
         Net Debt / TTM Adj. EBITDA                                                           5.3x              4.3x         3.7x          3.3x         2.8x         2.4x        2.0x
         Adj. EBITDA / Cash Interest, Net                                                     4.6x              5.5x         6.0x         6.0x          6.4x          7.1x       7.9x
         Fixed Charge Coverage(1)                                                             2.0x              2.0x         2.0x          2.1x         3.1x         3.3x        3.6x




Notes:
(1)   Fixed Charge Coverage ratio reflects (Adj. EBITDA - Taxes - CapEx) / (Cash Interest + Mandatory Amortization)
Source: Shopko management projections

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June 2015 Adequacy Analysis: Sensitivity Case Analysis Overview
                                                                          Illustrative Cash Flow Adequacy Analysis
                                                                                                                                                                                               Illustrated herein
         ($ in millions)                                                                     LTM             2015F          2016F       2017F          2018F        2019F         2020F        is a forecast of
         Revenue                                                                            $2,678.7        $2,666.1        $2,753.7    $2,852.3       $2,952.1     $2,996.4      $3,041.3     Shopko’s cash flow
          % Growth                                                                                 --         (0.5%)           3.3%        3.6%           3.5%          1.5%         1.5%      forecast through
         Adjusted EBITDA                                                                     $101.6            $87.9        $108.7       $115.9        $120.3        $122.3        $124.3      2020 and the
         Less: Taxes                                                                                                   -           -              -            -         (10.1)       (21.4)   associated debt
         Less: Other Expense and Management Fees                                                                   (3.8)       (4.0)         (4.0)         (4.0)          (4.0)        (4.0)
                                                                                                                                                                                               paydown and pro
         Less: Net Working Capital                                                                                   5.1        (7.5)         (9.2)         (9.9)         (4.4)        (4.4)
         Less: Closed Store Lease Liability                                                                        (3.4)       (4.5)           (1.2)           -             -            -    forma leverage
         Less: Capital Expenditures                                                                             (54.9)        (65.0)       (65.0)        (29.5)        (30.0)        (30.4)    levels
         Adj. Unlevered Free Cash Flow                                                                         $30.9         $27.7        $36.5         $76.9         $73.8         $64.1
         Interest Income                                                                                             0.1         0.1            0.1          0.1           0.1          0.1
         Cash Interest Expense                                                                                   (14.5)       (26.2)        (28.7)       (27.4)        (26.4)        (24.8)
         Mandatory Amortization                                                                                     (8.7)       (8.7)        (4.8)         (4.8)          (4.8)        (4.8)
         Levered Cash Flow                                                                                       $7.8         ($7.1)         $3.1       $44.8         $42.7         $34.6
         Revolver Draw/(Repayment)                                                                                (10.1)         7.1           (3.1)     (30.1)         (42.7)       (34.6)
         Optional Debt Repayment                                                                                       -           -              -            -             -            -
         Repayment of Debt at Maturity                                                                                 -           -              -       (14.7)             -      (341.6)
         Debt Refinancing                                                                                              -           -              -            -             -       341.6
         Net Cash Flow                                                                                          ($2.3)           $-             $-           $-            $-           $-
                                                                                         Pro Forma
         Total Debt                                                                         $560.0             $541.2        $539.6       $531.7        $482.1       $434.6        $395.2
         Total Cash                                                                           25.4               23.1          23.1         23.1          23.1         23.1          23.1
         Net Debt / TTM Adj. EBITDA                                                           5.3x               5.2x          4.8x        4.4x           3.8x         3.4x          3.0x
         Adj. EBITDA / Cash Interest, Net                                                     4.6x               4.5x          4.1x        4.0x           4.4x         4.6x          5.0x
         Fixed Charge Coverage(1)                                                             2.0x               1.5x          1.3x         1.5x          2.8x         2.6x          2.4x




Notes:
(1)   Fixed Charge Coverage ratio reflects (Adj. EBITDA - Taxes - CapEx) / (Cash Interest + Mandatory Amortization)
Source: Shopko management projections

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